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                        EXHIBIT A
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   PROSPECTUS
   March 1, 2025


                                   T. ROWE PRICE
                                   Growth Stock Fund
       PRGFX                                Investor Class
       PRUFX                                I Class
       TRSAX                                Advisor Class
       RRGSX                                R Class
       TRJZX                                Z Class
       The Securities and Exchange Commission (SEC) has not approved or disapproved
       these securities or passed upon the adequacy of this prospectus. Any representation
       to the contrary is a criminal offense.
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     SUMMARY
                                                                                           1
   Investment Objective(s)
   The fund seeks long-term capital growth through investments in stocks.

   Fees and Expenses
   This table describes the fees and expenses that you may pay if you buy, hold, and sell
   shares of the fund. You may also incur brokerage commissions and other charges when
   buying or selling shares of the fund, which are not reflected in the table or example below.
   Fees and Expenses of the Fund
                                    Investor         I       Advisor        R                   Z
                                      Class       Class       Class       Class               Class
                Shareholder fees (fees paid directly from your investment)
   Maximum account fee               $20 a        —           —           —                     —
                            Annual fund operating expenses
                         (expenses that you pay each year as a
                       percentage of the value of your investment)
   Management fees                  0.51 %      0.51 %      0.51 %      0.51 %                0.51 %
   Distribution and service (12b-1)
   fees                                     —            —          0.25         0.50           —
   Other expenses                         0.14         0.01         0.15         0.15           —

   Total annual fund operating
   expenses                               0.65         0.52         0.91         1.16         0.51
   Fee waiver/expense
   reimbursement                            —            —            —            —         (0.51 )b

   Total annual fund operating
   expenses after fee
   waiver/expense reimbursement           0.65         0.52         0.91         1.16         0.00 b
    a   Subject to certain exceptions and account minimums, accounts are charged an annual $20 fee.
    b   T. Rowe Price Associates, Inc., has contractually agreed to waive and/or bear all the Z Class’
        expenses (excluding interest; expenses related to borrowings, taxes, and brokerage;
        nonrecurring, extraordinary expenses; and acquired fund fees and expenses) in their entirety.
        T. Rowe Price Associates, Inc., expects this fee waiver and/or expense reimbursement
        arrangement to remain in place indefinitely, and the agreement may only be amended or
        terminated with approval by the fund’s Board of Directors.


   Example This example is intended to help you compare the cost of investing in the fund
   with the cost of investing in other mutual funds. The example assumes that you invest
   $10,000 in the fund for the time periods indicated and then redeem all of your shares at
   the end of those periods, that your investment has a 5% return each year, and that the
   fund’s operating expenses remain the same. The example also assumes that any current
   expense limitation arrangement remains in place for the period noted in the previous
   table; therefore, the figures have been adjusted to reflect fee waivers or expense
   reimbursements only in the periods for which the expense limitation arrangement is
   expected to continue. Although your actual costs may be higher or lower, based on these
   assumptions your costs would be:
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                                   1 Year           3 Years             5 Years            10 Years
    Investor Class             $    66             $   208             $   362             $   810
    I Class                         53                 167                 291                 653
    Advisor Class                   93                 290                 504                 1,120
    R Class                         118                368                 638                 1,409
    Z Class                          0                  0                   0                   0



   Portfolio Turnover The fund pays transaction costs, such as commissions, when it buys
   and sells securities (or “turns over” its portfolio). A higher portfolio turnover rate may
   indicate higher transaction costs and may result in higher taxes when the fund’s shares
   are held in a taxable account. These costs, which are not reflected in annual fund
   operating expenses or in the example, affect the fund’s performance. During the most
   recent fiscal year, the fund’s portfolio turnover rate was 38.2% of the average value of its
   portfolio.

   Investments, Risks, and Performance
   Principal Investment Strategies
   The fund normally invests at least 80% of its net assets (plus any borrowings for investment
   purposes) in stocks of companies with growth characteristics. For purposes of the fund’s 80%
   investment policy, the fund considers a company to have growth characteristics if the company’s
   securities are represented in an appropriate third-party growth-oriented index. Any derivatives
   that provide exposure to the investment focus suggested by the fund’s name, or to one or more
   market risk factors associated with the investment focus suggested by the fund’s name, are
   counted (as applicable) toward compliance with the fund’s 80% investment policy.

   While the fund may invest in companies of any market capitalization, the fund generally seeks
   investments in stocks of large-cap companies with one or more of the following characteristics:
   strong cash flow and an above-average rate of earnings growth; the ability to sustain earnings
   momentum during economic downturns; and occupation of a lucrative niche in the economy and
   the ability to expand even during times of slow economic growth. The fund’s growth-oriented
   investment approach to stock selection reflects the belief that when a company increases its
   earnings faster than both inflation and the overall growth rate of the economy, it may result in a
   higher stock price.

   At times, the fund may have a significant portion of its assets invested in the same economic
   sector, such as the information technology sector.

   The fund’s investments may include holdings in privately held companies and companies that
   only recently began to trade publicly.

   The fund is nondiversified, which means it may invest a greater percentage of its assets in a
   particular issuer than is permissible for a diversified fund.
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   Principal Risks
   As with any fund, there is no guarantee that the fund will achieve its objective(s). The fund’s
   share price fluctuates, which means you could lose money by investing in the fund. The principal
   risks of investing in this fund, which may be even greater in bad or uncertain market conditions,
   are summarized as follows:

   Stock investing: Stocks generally fluctuate in value more than bonds and may decline
   significantly over short time periods. There is a chance that stock prices overall will decline
   because stock markets tend to move in cycles, with periods of rising and falling prices. The value
   of stocks held by the fund may decline due to general weakness or volatility in the stock markets
   in which the fund invests or because of factors that affect a particular company or industry.

   Growth investing: The fund’s growth approach to investing could cause it to underperform
   other stock funds that employ a different investment style. Growth stocks tend to be more volatile
   than certain other types of stocks and their prices may fluctuate more dramatically than the
   overall stock market. A stock with growth characteristics can have sharp price declines due to
   decreases in current or expected earnings and may lack dividends that can help cushion its
   share price in a declining market.

   Market conditions: The value of the fund’s investments may decrease, sometimes rapidly or
   unexpectedly, due to factors affecting an issuer held by the fund, particular industries, or the
   overall securities markets. A variety of factors can increase the volatility of the fund’s holdings
   and markets generally, including economic, political, or regulatory developments, recessions,
   inflation, rapid interest rate changes, war, military conflict, acts of terrorism, natural disasters, and
   outbreaks of infectious illnesses or other widespread public health issues (such as the
   coronavirus pandemic) and related governmental and public responses (including sanctions).
   Certain events may cause instability across global markets, including reduced liquidity and
   disruptions in trading markets, while some events may affect certain geographic regions,
   countries, sectors, and industries more significantly than others. Government intervention in
   markets may impact interest rates, market volatility, and security pricing. These adverse
   developments may cause broad declines in market value due to short-term market movements
   or for significantly longer periods during more prolonged market downturns.

   Large-cap stocks: Securities issued by large-cap companies tend to be less volatile than
   securities issued by small- and mid-cap companies. However, large-cap companies may not be
   able to attain the high growth rates of successful small- and mid-cap companies, especially
   during strong economic periods, and may be unable to respond as quickly to competitive
   challenges.

   Sector exposure: Issuers in the same economic sector may be similarly affected by economic
   or market events, making the fund more vulnerable to unfavorable developments in that
   economic sector than funds that invest more broadly.

   Information technology sector: Information technology companies face intense competition,
   both domestically and internationally, which may have an adverse effect on their profit margins.
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   Like other technology companies, information technology companies may have limited product
   lines, markets, financial resources, or personnel.

   Private placements and IPOs: Investments in the stocks of privately held companies and in
   companies that only recently began to publicly trade, such as initial public offerings or IPOs,
   involve greater risks than investments in stocks of companies that have traded publicly on an
   exchange for extended time periods. There is significantly less information available about these
   companies’ business models, quality of management, earnings growth potential, and other
   criteria that are normally considered when evaluating the investment prospects of a company.
   Private placements and other restricted securities held by the fund are typically considered to be
   illiquid and tend to be difficult to value since there are no market prices and less overall financial
   information available. The adviser evaluates a variety of factors when assigning a value to these
   holdings, but the determination involves some degree of subjectivity and the value assigned for
   the fund may differ from the value assigned by other mutual funds holding the same security.

   Liquidity: A particular investment or an entire market segment may become less liquid or even
   illiquid, sometimes abruptly, which could limit the fund’s ability to purchase or sell holdings in a
   timely manner at a desired price. An inability to sell a portfolio holding can adversely affect the
   fund’s overall value or prevent the fund from being able to take advantage of other investment
   opportunities. Liquidity risk may be magnified during periods of substantial market volatility and
   unexpected episodes of illiquidity may limit the fund’s ability to pay redemption proceeds without
   selling holdings at an unfavorable time or at a suitable price. Large redemptions may also have a
   negative impact on the fund’s overall liquidity.

   Nondiversification: As a nondiversified fund, the fund has the ability to invest a larger
   percentage of its assets in the securities of a smaller number of issuers than a diversified fund.
   As a result, poor performance by a single issuer could adversely affect fund performance more
   than if the fund were invested in a larger number of issuers. The fund’s share price can be
   expected to fluctuate more than that of a similar fund that is more broadly diversified.

   Active management: The fund’s overall investment program and holdings selected by the
   fund’s investment adviser may underperform the broad markets, relevant indices, or other funds
   with similar objectives and investment strategies.

   Cybersecurity breaches: The fund could be harmed by intentional cyberattacks and other
   cybersecurity breaches, including unauthorized access to the fund’s assets, confidential
   information, or other proprietary information. In addition, a cybersecurity breach could cause one
   of the fund’s service providers or financial intermediaries to suffer unauthorized data access,
   data corruption, or loss of operational functionality.

   Performance
   The following performance information provides some indication of the risks of investing in the
   fund. The fund’s performance information represents only past performance (before and after
   taxes) and is not necessarily an indication of future results.
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   The following bar chart illustrates how much returns can differ from year to year by showing
   calendar year returns and the best and worst calendar quarter returns during those years for the
   fund’s Investor Class. Returns for other share classes vary since they have different expenses.

        GROWTH STOCK FUND
        Calendar Year Returns
       60 %
                                                                                      45.27
       45                                                  36.93
                                 33.63           30.82                                        29.59
       30
                                                                    20.03
       15       10.85
                        1.41
        0
                                         -1.03
      -15

      -30

      -45                                                                    -40.14

      -60
                2015    2016     2017    2018    2019       2020    2021      2022    2023    2024

                               Quarter      Total                           Quarter       Total
                               Ended       Return                           Ended        Return
              Best Quarter     6/30/20     27.73%        Worst Quarter      6/30/22     -25.43%

   The following table shows the average annual total returns for each class of the fund that has
   been in operation for at least one full calendar year. The fund’s performance information included
   in the table is compared with a regulatory required index that represents an overall securities
   market (Regulatory Benchmark). In addition, the table may also include one or more indexes that
   more closely aligns to the fund’s investment strategy (Strategy Benchmark(s)).

   In addition, the table shows hypothetical after-tax returns to demonstrate how taxes paid by a
   shareholder may influence returns. After-tax returns are calculated using the historical highest
   individual federal marginal income tax rates and do not reflect the impact of state and local taxes.
   Actual after-tax returns depend on an investor’s tax situation and may differ from those shown.
   After-tax returns shown are not relevant to investors who hold their fund shares through tax-
   deferred arrangements, such as a 401(k) account or an IRA. After-tax returns are shown only for
   the Investor Class and will differ for other share classes.
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   Average Annual Total Returns
                                                            Periods ended
                                                          December 31, 2024

                                                                                Since        Inception
                                 1 Year        5 Years       10 Years         inception         date
    Investor Class                                                                           04/11/1950
      Returns before taxes         29.59 %        13.12 %        13.67 %             —%
      Returns after taxes on
      distributions                27.74          11.70          12.12               —
      Returns after taxes on
      distributions and sale
      of fund shares               18.93          10.25          10.94               —
    I Class                                                                                  08/28/2015
      Returns before taxes         29.76          13.26               —          13.99
    Advisor Class                                                                            12/31/2001
      Returns before taxes         29.27          12.82          13.38               —
    R Class                                                                                  09/30/2002
      Returns before taxes         28.93          12.53          13.09               —
    Z Class                                                                                  03/16/2020
      Returns before taxes         30.45              —               —          20.99

    Regulatory Benchmark*
    Russell 3000® Index (reflects no deduction for fees, expenses, or taxes)
                                                                           13.71 a
                                23.81         13.86          12.55         22.33 b
    Strategy Benchmark(s)
    Russell 1000® Growth Index (reflects no deduction for fees, expenses, or
    taxes)
                                                                           17.79 a
                                33.36         18.96          16.78         26.21 b
    S&P 500 Index (reflects no deduction for fees, expenses, or taxes)
                                                                           14.34 a
                                25.02         14.53          13.10         22.60 b
    Lipper Large-Cap Growth Funds Index
                                                                           15.65 a
                                30.73         16.44          14.82         23.46 b

   * Due to new SEC Rules on shareholder reporting, the fund adopted a new broad-based securities market
    index, referred to as the Regulatory Benchmark.
   a Return since 8/28/15.
   b Return since 3/16/20.


   Updated performance information is available through troweprice.com.

   Management
   Investment Adviser T. Rowe Price Associates, Inc. (T. Rowe Price or Price Associates)
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                                                                            Managed           Joined
                                                                             Fund           Investment
    Portfolio Manager                                Title                   Since            Adviser
                                        Portfolio Manager and Chair
                                                   of the
    Joseph B. Fath*                   Investment Advisory Committee            2014              2002
                                     Co-Portfolio Manager and Cochair
                                                   of the
    James Stillwagon                  Investment Advisory Committee            2025              2017
    * Effective September 30, 2025, Mr. Fath will step down from his responsibilities as the fund’s portfolio
      manager and chair of the fund’s Investment Advisory Committee, and Mr. Stillwagon will serve as the fund’s
      sole portfolio manager and chair of the fund’s Investment Advisory Committee.

    Purchase and Sale of Fund Shares
    The Investor Class, Advisor Class, and R Class generally require a $2,500 minimum initial
    investment ($1,000 minimum initial investment if opening an IRA, a custodial account for a minor,
    or a small business retirement plan account). Additional purchases generally require a $100
    minimum. These investment minimums generally are waived for financial intermediaries and
    certain employer-sponsored retirement plans submitting orders on behalf of their customers.
    Advisor Class and R Class shares may generally only be purchased through a financial
    intermediary or retirement plan.

    The I Class requires a $500,000 minimum initial investment per fund per account registration,
    although the initial investment minimum generally is waived or reduced for financial
    intermediaries, eligible retirement plans, certain accounts for which T. Rowe Price or its affiliates
    have discretionary investment authority, qualifying directly held accounts, and certain other
    accounts.

    The Z Class is only available to funds managed by T. Rowe Price and other advisory clients of
    T. Rowe Price or its affiliates that are subject to a contractual fee for investment management
    services. There is no minimum initial investment and no minimum for additional purchases.

    For investors holding shares of the fund directly with T. Rowe Price, you may purchase, redeem,
    or exchange fund shares by mail; by telephone (1-800-225-5132 for IRAs and nonretirement
    accounts; 1-800-492-7670 for small business retirement plans; and 1-800-638-8790 for
    institutional investors and financial intermediaries); or, for certain other accounts, by accessing
    your account online through troweprice.com.

    If you hold shares through a financial intermediary or retirement plan, you must purchase,
    redeem, and exchange shares of the fund through your intermediary or retirement plan. You
    should check with your intermediary or retirement plan to determine the investment minimums
    that apply to your account.

    Tax Information
    Any dividends or capital gains are declared and paid annually, usually in December.
    Redemptions or exchanges of fund shares and distributions by the fund, whether or not you
    reinvest these amounts in additional fund shares, generally may be taxed as ordinary income or
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    capital gains unless you invest through a tax-deferred account (in which case you will be taxed
    upon withdrawal from such account).

    Payments to Broker-Dealers and Other Financial Intermediaries
    If you purchase shares of the fund through a broker-dealer or other financial intermediary (such
    as a bank), the fund and its related companies may pay the intermediary for the sale of fund
    shares and related services. These payments may create a conflict of interest by influencing the
    broker-dealer or other intermediary and your salesperson to recommend the fund over another
    investment. Ask your salesperson or visit your financial intermediary’s website for more
    information.
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      MORE ABOUT THE FUND
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    MANAGEMENT OF THE FUND


    Investment Adviser(s)
    T. Rowe Price is the fund’s investment adviser and oversees the selection of the fund’s
    investments and management of the fund’s portfolio pursuant to an investment management
    agreement between the investment adviser and the fund. T. Rowe Price is the investment
    adviser for all funds sponsored and managed by T. Rowe Price (T. Rowe Price Funds); is an
    SEC-registered investment adviser that provides investment management services to individual
    and institutional investors and sponsors; and serves as adviser and subadviser to registered
    investment companies, institutional separate accounts, and common trust funds. The address for
    T. Rowe Price is 100 East Pratt Street, Baltimore, Maryland 21202. As of December 31, 2024,
    T. Rowe Price and its affiliates (Firm) had approximately $1.61 trillion in assets under
    management.

    Portfolio Management
    T. Rowe Price has established an Investment Advisory Committee with respect to the fund. The
    committee chairs are ultimately responsible for the day-to-day management of the fund’s portfolio
    and work with the committee in developing and executing the fund’s investment program. The
    members of the committee are as follows: Joseph B. Fath, chair and James Stillwagon, cochair,
    Stephanie Beebe, Eric L. DeVilbiss, Shawn T. Driscoll, David J. Eiswert, Jon Michael Friar, Chris
    Graff, Paul Greene II, Jill Jortner, Ross MacMillan, Lee Sandquist, Taymour R. Tamaddon, and
    Justin P. White. The following information provides the year that the portfolio managers first
    joined the Firm and the portfolio managers’ specific business experience during the past five
    years (although the portfolio managers may have had portfolio management responsibilities for a
    longer period). Mr. Fath has been chair of the committee since 2014. He joined the Firm in 2002,
    and his investment experience dates from 2005. During the past five years, he has served as a
    portfolio manager with the Firm. Effective January 1, 2025, James Stillwagon joined Joseph B.
    Fath as the fund’s co-portfolio manager and cochair of the fund’s Investment Advisory
    Committee. Effective September 30, 2025, Mr. Fath will step down as the fund’s portfolio
    manager and chair of the fund’s Investment Advisory Committee, and Mr. Stillwagon will remain
    as the fund’s sole portfolio manager and chair of the Investment Advisory Committee.
    Mr. Stillwagon joined the Firm in 2017, and his investment experience dates from 2008. He has
    served as a portfolio manager with the Firm throughout the past five years. The Statement of
    Additional Information (SAI) provides additional information about the portfolio managers’
    compensation, other accounts managed by the portfolio managers, and the portfolio managers’
    ownership of the fund’s shares.

    The Management Fee
    The management fee consists of two components—an “individual fund fee,” which reflects the
    fund’s particular characteristics, and a “group fee.” The group fee, which is designed to reflect the
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    benefits of the shared resources of the Firm, is calculated daily based on the combined net
    assets of all T. Rowe Price Funds (except the funds-of-funds, TRP Reserve Funds, Multi-Sector
    Account Portfolios, and any index or private-label mutual funds). The group fee schedule (in the
    following table) is graduated, declining as the combined assets of the T. Rowe Price Funds rise,
    so shareholders benefit from the overall growth in mutual fund assets.

    Group Fee Schedule
                0.334%*              First $50 billion
                0.305%               Next $30 billion
                0.300%               Next $40 billion
                0.295%               Next $40 billion
                0.290%               Next $60 billion
                0.285%               Next $80 billion
                0.280%               Next $100 billion
                0.275%               Next $100 billion
                0.270%               Next $150 billion
                0.265%               Next $195 billion
                0.260%               Thereafter
    * Represents a blended group fee rate containing various breakpoints.

    The fund’s group fee is determined by applying the group fee rate to the fund’s average daily net
    assets. For the fiscal year ended December 31, 2024, the group fee rate was 0.28%. The fund’s
    individual fund fee rate, also applied to the fund’s average daily net assets, is 0.25% on assets
    up to $15 billion and 0.2125% on assets above $15 billion.

    The management fee is charged to the fund and each share class of the fund bears its
    proportionate share of the management fee. An expense limitation agreement that limits the
    operating expenses or total expense ratio of a particular share class, other than the Z Class
    expense limitation, does not result in a reduced or waived management fee. In accordance with
    the Z Class expense limitation, T. Rowe Price waives its management fee in proportion to the
    Z Class’ net assets and bears the Z Class’ other operating expenses, with certain exceptions.
    The Z Class serves as an underlying investment within certain T. Rowe Price fund-of-funds
    arrangements that charge an annual all-inclusive fee. As such, the Z Class operating expenses
    (including its management fee) are largely covered by the annual all-inclusive fees charged by
    the investing T. Rowe Price funds-of-funds and any Z Class operating expenses not covered by
    the investing T. Rowe Price funds-of-funds’ fees are paid by T. Rowe Price and not by
    shareholders of any other share class of the fund.

    A discussion about the factors considered by the fund’s Board of Directors (Board) and its
    conclusions in approving the fund’s investment management agreement (and any subadvisory
    agreement, if applicable) is contained in Form N-CSR filed with the SEC for the period ended
    June 30, and made available on the fund’s website at troweprice.com/prospectus.
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     MORE INFORMATION ABOUT THE FUND’S INVESTMENT OBJECTIVE(S),
     STRATEGIES, AND RISKS


     Investment Objective(s)
     The fund seeks long-term capital growth through investments in stocks.

     Principal Investment Strategies
     The fund normally invests at least 80% of its net assets (plus any borrowings for investment
     purposes) in stocks of companies with growth characteristics. Shareholders will receive at least
     60 days’ prior notice of a change to the fund’s 80% investment policy. For purposes of the fund’s
     80% investment policy, the fund considers a company to have growth characteristics if the
     company’s securities are represented in an appropriate third-party growth-oriented index. Any
     derivatives that provide exposure to the investment focus suggested by the fund’s name, or to
     one or more market risk factors associated with the investment focus suggested by the fund’s
     name, are counted (as applicable) toward compliance with the fund’s 80% investment policy.

     While the fund may invest in companies of any market capitalization, the fund generally seeks
     investments in stocks of large-cap companies with one or more of the following characteristics:
     strong cash flow and an above-average rate of earnings growth; the ability to sustain earnings
     momentum during economic downturns; and occupation of a lucrative niche in the economy and
     the ability to expand even during times of slow economic growth. The fund’s growth-oriented
     investment approach to stock selection reflects the belief that when a company increases its
     earnings faster than both inflation and the overall growth rate of the economy, it may result in a
     higher stock price.

     The adviser generally looks for companies with one or more of the following:

     Strong growth rate Above-average growth in sales, earnings and cash flow.

     Operations in “fertile fields” The ability to sustain earnings momentum even during economic
     slowdowns by operating in industries or service sectors where earnings and dividends can
     outpace inflation and the overall economy.

     Durability of earnings growth A lucrative niche in the economy that enables the company to
     expand even during times of slow growth. Ideally, profit margins should be widening due to
     economic factors rather than one-time events such as lower taxes.

     Management Seasoned management teams with a track record of providing superior financial
     results are important for a company’s long-term growth prospects. Our analysts will evaluate the
     depth and breadth of a company’s management experience.

     At times, the fund may have a significant portion of its assets invested in the same economic
     sector, such as the information technology sector.

     The fund’s investments may include holdings in privately held companies and companies that
     only recently began to trade publicly.
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    The fund may invest in companies through initial public offerings and non-public offerings, known
    as private placements, which are exempt from registration under the federal securities laws and
    are only sold to certain investors meeting predefined criteria. These offerings can be a key
    source of capital for businesses, especially small or start-up companies. The offering document
    for a private placement specifies the terms of the offering, including the amount of money to be
    raised and the type of investor that can be solicited to participate in the offering, but contains
    more limited information on the company when compared to a public offering.

    The fund is nondiversified, which means it may invest a greater percentage of its assets in a
    particular issuer than is permissible for a diversified fund.

    The Firm integrates environmental, social, and governance (ESG) factors into the investment
    research process for certain investments. Such ESG factors can include, but are not limited to,
    climate change, resource depletion, labor standards, diversity, human rights issues, and
    governance structure and practices. For certain types of investments, including, but not limited
    to, cash, currency positions, and particular types of derivatives, an ESG analysis may not be
    relevant or possible due to a lack of data. Where ESG considerations are integrated into the
    investment research process, the Firm focuses on the particular ESG factors considered most
    likely to have a material impact on the performance of the holdings or potential holdings in the
    fund’s portfolio. The investment adviser may conclude that other attributes of an investment
    outweigh ESG considerations when making investment decisions for the fund.

    The fund may sell assets for a variety of reasons, including in response to a change in the
    original investment considerations or to limit losses, adjust the characteristics of the overall
    portfolio, or redeploy assets into different opportunities.

    The fund invests in the following types of securities or assets:

    Common and Preferred Stocks
    Stocks represent shares of ownership in a company. Generally, preferred stocks have a
    specified dividend rate and rank after bonds and before common stocks in their claim on income
    for dividend payments and on assets should the company be liquidated. After other claims are
    satisfied, common stockholders participate in company profits on a pro-rata basis and profits may
    be paid out in dividends or reinvested in the company to help it grow. Increases and decreases in
    earnings are usually reflected in a company’s stock price, so common stocks generally have the
    greatest appreciation and depreciation potential of all corporate securities. Unlike common stock,
    preferred stock does not ordinarily carry voting rights. While most preferred stocks pay a
    dividend, the fund may decide to purchase preferred stock where the issuer has suspended, or is
    in danger of suspending, payment of its dividend.

    Principal Risks
    The principal risks associated with the fund’s principal investment strategies, which may be even
    greater in bad or uncertain market conditions, include the following:

    Stock investing: The fund’s share price can fall because of weakness in the overall stock
    markets, a particular industry, or specific holdings. Stock markets as a whole can be volatile and
    decline for many reasons, such as adverse local, regional, or global political, regulatory, or
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     economic developments; changes in investor psychology; or heavy selling at the same time by
     major institutional investors in the market. The prospects for an industry or company may
     deteriorate because of a variety of factors, including disappointing earnings or changes in the
     competitive environment. In addition, the adviser’s assessment of companies whose stocks are
     held by the fund may prove incorrect, resulting in losses or poor performance, even in rising
     markets. In the event an issuer is liquidated or declares bankruptcy, the claims of owners of the
     issuer’s bonds and preferred stock take precedence over the claims of those who own common
     stock.

     Growth investing: Different investment styles tend to shift in and out of favor depending on
     market conditions and investor sentiment. Growth stocks tend to be more volatile than other
     types of stocks, and their prices may fluctuate more dramatically than the overall stock markets.
     Growth stocks are typically priced higher than other stocks because investors believe they have
     more growth potential, which may or may not be realized. Since these companies usually invest
     a high portion of earnings in their businesses, they may lack the dividends that can cushion stock
     prices in a falling market. In addition, earnings disappointments often lead to sharply falling
     prices for growth stocks.

     Market conditions: The value of investments held by the fund may decline, sometimes rapidly
     or unpredictably, due to factors affecting certain issuers, particular industries or sectors, or the
     overall markets. Rapid or unexpected changes in market conditions could cause the fund to
     liquidate its holdings at inopportune times or at a loss or depressed value. The value of a
     particular holding may decrease due to developments related to that issuer, but also due to
     general market conditions, including real or perceived economic developments, such as changes
     in interest rates, credit quality, inflation, or currency rates, or generally adverse investor
     sentiment. The value of a holding may also decline due to factors that negatively affect a
     particular industry or sector, such as labor shortages, increased production costs, or competitive
     conditions. In addition, local, regional, or global events such as war, military conflict, acts of
     terrorism, political and social unrest, regulatory changes, recessions, shifts in monetary or trade
     policies, natural or environmental disasters, and the spread of infectious diseases or other public
     health issues could have a significant negative impact on securities markets and the fund’s
     investments. Any of these events may lead to unexpected suspensions or closures of securities
     exchanges; travel restrictions or quarantines; business disruptions and closures; inability to
     obtain raw materials, supplies, and component parts; reduced or disrupted operations for the
     fund’s service providers or issuers in which the fund invests; and an extended adverse impact on
     global market conditions. Government intervention (including sanctions) in markets may impact
     interest rates, market volatility, and security pricing. The occurrence of any of these events could
     adversely affect the economies (including through changes in business activity and increased
     unemployment) and financial markets of specific countries or worldwide.

     Large-cap stocks: Although stocks issued by large-cap companies tend to have less overall
     volatility than stocks issued by small- and mid-cap companies, large-cap companies may not be
     able to attain the high growth rates of successful small- and mid-cap companies, especially
     during strong economic periods. In addition, large-cap companies may be less capable of
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    responding quickly to competitive challenges and industry changes, and may suffer sharper price
    declines as a result of earnings disappointments.

    Sector exposure: At times, the fund may have a significant portion of its assets invested in
    securities of issuers conducting business in a related group of industries within the same
    economic sector. Issuers within the same economic sector may be similarly affected by specific
    market events impacting that sector. As a result, the fund is more susceptible to adverse
    developments affecting an economic sector in which the fund has significant investments and
    may perform poorly during a downturn in one or more of the industries within that economic
    sector.

    Information technology sector: Information technology companies face intense competition,
    both domestically and internationally, which may have an adverse effect on their profit margins.
    Like other technology companies, information technology companies may have limited product
    lines, markets, financial resources, or personnel. The products of information technology
    companies may face obsolescence due to rapid technological developments, frequent new
    product introduction, unpredictable changes in growth rates, and competition for the services of
    qualified personnel. Companies in the information technology sector are heavily dependent on
    patent and intellectual property rights. The loss or impairment of these rights may adversely
    affect the profitability of these companies.

    Private placements and IPOs: Many private placement securities are issued by companies
    that are not required to file periodic financial reports, leading to challenges in evaluating the
    company’s overall business prospects and gauging how the investment is likely to perform over
    time. The more limited financial information and lack of publicly available prices require the fund
    to determine a fair value for such investments. The fair value prices for the fund’s private
    placements are based on a variety of factors and are reviewed on a regular basis and updated
    as additional information becomes available. However, the fair valuation process involves a
    significant amount of judgment and the fair value prices determined for the fund could differ from
    those of other market participants. An initial public offering, which marks the debut of a
    company’s stock on a public stock exchange, results in greater available financing for the
    company and more information available to evaluate the company’s investment prospects.
    However, these companies that only recently began to publicly trade tend to have limited
    products and customers, may not be fully prepared for the additional oversight and regulation
    that results, and do not have a trading history to assess how the stock has behaved during
    various market cycles.

    Liquidity: A particular investment or an entire market segment may become less liquid or even
    illiquid, sometimes abruptly, which can adversely affect the fund’s overall value and its ability to
    limit losses. Less liquid or illiquid investments can be more difficult to purchase or sell at an
    advantageous price or time, and there is an increased risk that the investment may not be sold
    for the price at which the fund is valuing it. Market prices of holdings with reduced liquidity may
    be volatile and an inability to sell a portfolio holding can adversely affect the fund’s value or
    prevent the fund from being able to take advantage of other investment opportunities. Liquidity
    risk may be magnified during periods of substantial market volatility due to higher than normal
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     redemption rates. Unexpected episodes of illiquidity may limit the fund’s ability to pay redemption
     proceeds within the allowable time period. Large redemptions by one or more shareholders
     owning a significant percentage of the fund’s assets may also have a negative impact on the
     fund’s overall liquidity. To meet redemption requests during periods of illiquidity, the fund may be
     forced to sell securities at an unfavorable time and/or under unfavorable conditions.

     Nondiversification: Because the fund is nondiversified and thus can invest more of its assets in
     a smaller number of issuers, it is more exposed to the risks associated with an individual issuer
     than a fund that invests more broadly across many issuers. For example, poor performance by a
     single large holding of the fund would adversely affect the fund’s performance more than if the
     fund were invested in a larger number of issuers.

     Active management: The investment adviser’s judgments about the attractiveness, value, or
     potential appreciation of the fund’s investments may prove to be incorrect. The fund could
     underperform other funds with a similar benchmark or similar investment program if the fund’s
     investment selections or overall strategies fail to produce the intended results. Regulatory, tax, or
     other developments may affect the investment strategies available to a portfolio manager, which
     could adversely affect the ability to implement the fund’s overall investment program and achieve
     the fund’s investment objective(s).

     Cybersecurity breaches: The fund may be subject to operational and information security risks
     resulting from breaches in cybersecurity. Cybersecurity breaches may involve deliberate attacks
     and unauthorized access to the digital information systems (for example, through “hacking” or
     malicious software coding) used by the fund, its investment adviser and subadviser(s) (as
     applicable), or its service providers but may also result from outside attacks such as denial-of-
     service attacks, which are efforts to make network services unavailable to intended users. These
     breaches may, among other things, result in financial losses to the fund and its shareholders,
     cause the fund to lose proprietary information, disrupt business operations, or result in the
     unauthorized release of confidential information. Further, cybersecurity breaches involving the
     fund’s service providers, financial intermediaries, trading counterparties, or issuers in which the
     fund invests could subject the fund to many of the same risks associated with direct breaches.

     Additional Investment Management Practices
     The fund may employ additional investment management practices as described in this section.
     The fund’s investments may be subject to further restrictions and risks described in the SAI,
     which contains more detailed information about the fund and its investments, operations, and
     expenses. Like other investment professionals with multiple clients, a fund’s portfolio manager
     may face certain potential conflicts of interest in connection with managing both the fund and
     other accounts at the same time. T. Rowe Price and the fund have adopted compliance policies
     and procedures that attempt to address certain potential conflicts that a portfolio manager may
     face in this regard.

     Temporary Defensive Position
     The fund may assume a temporary defensive position to respond to adverse market, economic,
     political, or other conditions, such as to provide flexibility in meeting redemptions, pay expenses,
     or manage cash flows. The temporary defensive position may be inconsistent with the fund’s
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    principal investment objective(s) and/or strategies, which may impact the fund’s returns or its
    ability to achieve its investment objective(s). For temporary defensive purposes, the fund may
    invest without limit in cash or other liquid instruments.

    Reserve Position
    A certain portion of the fund’s assets may be held in reserves. The fund’s reserve positions will
    typically consist of: (1) shares of a T. Rowe Price internal money market fund or short-term bond
    fund (which do not charge any management fees and are not available for public purchase);
    (2) short-term, high-quality U.S. and non-U.S. dollar-denominated money market securities,
    including repurchase agreements; and (3) U.S. dollar or non-U.S. dollar currencies. If the fund
    has significant holdings in reserves, it could compromise its ability to achieve its objective(s).
    Non-U.S. dollar reserves are subject to currency risk.

    Borrowing Money and Transferring Assets
    The fund may borrow from banks, other persons, and other T. Rowe Price Funds for temporary
    or emergency purposes, to facilitate redemption requests, or for other purposes consistent with
    the fund’s policies as set forth in this prospectus and the SAI. Such borrowings may be
    collateralized with the fund’s assets, subject to certain restrictions.

    Borrowings may not exceed 33⅓% of the fund’s total assets. This limitation includes any
    borrowings for temporary or emergency purposes, applies at the time of the transaction, and
    continues to the extent required by the Investment Company Act of 1940.



    PORTFOLIO TURNOVER


    Turnover is an indication of frequency of trading. Each time the fund purchases or sells a
    security, it incurs a cost. This cost is reflected in the fund’s net asset value but not in its operating
    expenses. The higher the turnover rate, the higher the transaction costs and the greater the
    impact on the fund’s total return. Higher turnover can also increase the possibility of taxable
    capital gain distributions. The fund’s portfolio turnover rates are shown in the Financial Highlights
    tables.



    FINANCIAL HIGHLIGHTS


    The Financial Highlights tables, which provide information about each class’ financial
    history, are based on a single share outstanding throughout the periods shown. The
    tables are part of the fund’s financial statements, which are included in its Form N-CSR
    and are incorporated by reference into the SAI (available upon request). The financial
    statements were audited by the fund’s independent registered public accounting firm,
    PricewaterhouseCoopers LLP.
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     FINANCIAL HIGHLIGHTS                                                    For a share outstanding throughout each period

     Investor Class

                                                 Year
                                                Ended
                                               12/31/24         12/31/23        12/31/22         12/31/21        12/31/20
     NET ASSET VALUE
     Beginning of period                         $86.59          $61.61          $106.32          $96.94           $73.35

     Investment activities
     Net investment loss(1)(2)                     (0.19)          (0.10)           (0.21)          (0.34)           (0.14)
     Net realized and unrealized
     gain/loss                                    26.05            27.97          (42.31)           19.65           27.13
     Total from investment activities             25.86            27.87          (42.52)           19.31           26.99

     Distributions
     Net realized gain                             (6.99)          (2.89)           (2.19)          (9.93)           (3.40)

     NET ASSET VALUE
     End of period                             $105.46           $86.59           $61.61         $106.32           $96.94

     Ratios/Supplemental Data
     Total return(2)(3)                           29.59%           45.27%         (40.14)%          20.03%          36.93%

     Ratios to average net assets:(2)
     Gross expenses before
     waivers/payments by Price
     Associates                                    0.65%            0.65%           0.67%            0.63%            0.64%
     Net expenses after
     waivers/payments by Price
     Associates                                    0.65%            0.65%           0.67%            0.63%            0.64%
     Net investment loss                           (0.19)%         (0.13)%          (0.27)%         (0.31)%          (0.17)%

     Portfolio turnover rate                       38.2%            28.9%           25.9%            22.7%            33.0%
     Net assets, end of period (in
     millions)                                 $12,553          $11,966          $10,958         $27,065          $26,587
     (1)   Per share amounts calculated using average shares outstanding method.
     (2)   Includes the impact of expense-related arrangements with Price Associates.
     (3)   Total return reflects the rate that an investor would have earned on an investment in the fund during each period,
           assuming reinvestment of all distributions, and payment of no redemption or account fees, if applicable.
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    FINANCIAL HIGHLIGHTS                                                    For a share outstanding throughout each period


    I Class

                                                Year
                                               Ended
                                              12/31/24         12/31/23        12/31/22         12/31/21        12/31/20
    NET ASSET VALUE
    Beginning of period                         $86.85          $61.72          $106.34          $96.98           $73.39

    Investment activities
    Net investment loss(1)(2)                     (0.07)             —(3)          (0.08)          (0.22)           (0.04)
    Net realized and unrealized
    gain/loss                                    26.15            28.02          (42.35)           19.68           27.16
    Total from investment activities             26.08            28.02          (42.43)           19.46           27.12

    Distributions
    Net realized gain                             (6.99)          (2.89)           (2.19)         (10.10)           (3.53)

    NET ASSET VALUE
    End of period                             $105.94           $86.85           $61.72         $106.34           $96.98

    Ratios/Supplemental Data
    Total return(2)(4)                           29.76%           45.44%         (40.05)%          20.18%          37.09%

    Ratios to average net assets:(2)
    Gross expenses before
    waivers/payments by Price
    Associates                                    0.52%            0.53%           0.53%            0.51%            0.52%
    Net expenses after
    waivers/payments by Price
    Associates                                    0.52%            0.53%           0.53%            0.51%            0.52%
    Net investment loss                           (0.07)%         (0.00)%          (0.11)%         (0.20)%          (0.05)%

    Portfolio turnover rate                       38.2%            28.9%           25.9%            22.7%            33.0%
    Net assets, end of period (in
    millions)                                 $15,548          $13,355          $12,188         $18,105          $14,963
    (1)   Per share amounts calculated using average shares outstanding method.
    (2)   Includes the impact of expense-related arrangements with Price Associates.
    (3)   Amounts round to less than $0.01 per share.
    (4)   Total return reflects the rate that an investor would have earned on an investment in the fund during each period,
          assuming reinvestment of all distributions, and payment of no redemption or account fees, if applicable.
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     FINANCIAL HIGHLIGHTS                                                    For a share outstanding throughout each period


     Advisor Class

                                                 Year
                                                Ended
                                               12/31/24         12/31/23        12/31/22         12/31/21        12/31/20
     NET ASSET VALUE
     Beginning of period                         $83.42          $59.59          $103.20          $94.36           $71.50

     Investment activities
     Net investment loss(1)(2)                     (0.44)          (0.28)           (0.38)          (0.63)           (0.37)
     Net realized and unrealized
     gain/loss                                    25.09            27.00          (41.04)           19.12           26.41
     Total from investment activities             24.65            26.72          (41.42)           18.49           26.04

     Distributions
     Net realized gain                             (6.99)          (2.89)           (2.19)          (9.65)           (3.18)

     NET ASSET VALUE
     End of period                             $101.08           $83.42           $59.59         $103.20           $94.36

     Ratios/Supplemental Data
     Total return(2)(3)                           29.27%           44.88%         (40.29)%          19.71%          36.55%

     Ratios to average net assets:(2)
     Gross expenses before
     waivers/payments by Price
     Associates                                    0.91%            0.91%           0.92%            0.91%            0.92%
     Net expenses after
     waivers/payments by Price
     Associates                                    0.91%            0.91%           0.92%            0.91%            0.92%
     Net investment loss                           (0.46)%         (0.38)%          (0.52)%         (0.60)%          (0.46)%

     Portfolio turnover rate                       38.2%            28.9%           25.9%            22.7%            33.0%
     Net assets, end of period (in
     millions)                                   $1,382          $1,337           $1,547          $3,008           $2,954
     (1)   Per share amounts calculated using average shares outstanding method.
     (2)   Includes the impact of expense-related arrangements with Price Associates.
     (3)   Total return reflects the rate that an investor would have earned on an investment in the fund during each period,
           assuming reinvestment of all distributions, and payment of no redemption or account fees, if applicable.
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    FINANCIAL HIGHLIGHTS                                                    For a share outstanding throughout each period


    R Class

                                                Year
                                               Ended
                                              12/31/24         12/31/23        12/31/22         12/31/21        12/31/20
    NET ASSET VALUE
    Beginning of period                         $79.03          $56.70           $98.61          $90.58           $68.76

    Investment activities
    Net investment loss(1)(2)                     (0.65)          (0.46)           (0.55)          (0.86)           (0.55)
    Net realized and unrealized
    gain/loss                                    23.75            25.68          (39.17)           18.32           25.36
    Total from investment activities             23.10            25.22          (39.72)           17.46           24.81

    Distributions
    Net realized gain                             (6.99)          (2.89)           (2.19)          (9.43)           (2.99)

    NET ASSET VALUE
    End of period                               $95.14          $79.03           $56.70          $98.61           $90.58

    Ratios/Supplemental Data
    Total return(2)(3)                           28.93%           44.52%         (40.44)%          19.39%          36.21%

    Ratios to average net assets:(2)
    Gross expenses before
    waivers/payments by Price
    Associates                                    1.16%            1.17%           1.18%            1.17%            1.17%
    Net expenses after
    waivers/payments by Price
    Associates                                    1.16%            1.17%           1.18%            1.17%            1.17%
    Net investment loss                           (0.71)%         (0.65)%          (0.77)%         (0.85)%          (0.72)%

    Portfolio turnover rate                       38.2%            28.9%           25.9%            22.7%            33.0%
    Net assets, end of period (in
    millions)                                     $698            $659             $561          $1,051           $1,016
    (1)   Per share amounts calculated using average shares outstanding method.
    (2)   Includes the impact of expense-related arrangements with Price Associates.
    (3)   Total return reflects the rate that an investor would have earned on an investment in the fund during each period,
          assuming reinvestment of all distributions, and payment of no redemption or account fees, if applicable.
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     FINANCIAL HIGHLIGHTS                                                   For a share outstanding throughout each period


     Z Class

                                                 Year                                                             3/16/20(1)
                                                Ended                                                            Through
                                               12/31/24         12/31/23        12/31/22         12/31/21        12/31/20
     NET ASSET VALUE
     Beginning of period                         $87.48          $62.05          $106.34          $96.93           $56.20

     Investment activities
     Net investment income(2)(3)                   0.46             0.40            0.32             0.34             0.28
     Net realized and unrealized
     gain/loss                                    26.41            28.25          (42.42)           19.69           44.34
     Total from investment activities             26.87            28.65          (42.10)           20.03           44.62

     Distributions
     Net investment income                         (0.22)          (0.33)              —               —                —
     Net realized gain                             (6.99)          (2.89)           (2.19)         (10.62)           (3.89)
     Total distributions                           (7.21)          (3.22)           (2.19)         (10.62)           (3.89)

     NET ASSET VALUE
     End of period                             $107.14           $87.48           $62.05         $106.34           $96.93

     Ratios/Supplemental Data
     Total return(3)(4)                           30.45%           46.22%         (39.74)%          20.79%          79.59%

     Ratios to average net assets:(3)
     Gross expenses before
     waivers/payments by Price
     Associates                                    0.51%            0.52%           0.51%            0.51%            0.51%(5)
     Net expenses after
     waivers/payments by Price
     Associates                                    0.00%            0.00%           0.00%            0.00%            0.00%(5)
     Net investment income                         0.45%            0.52%           0.41%            0.31%            0.41%(5)

     Portfolio turnover rate                       38.2%            28.9%           25.9%            22.7%            33.0%
     Net assets, end of period (in
     millions)                                 $21,413          $19,640          $16,696         $24,833          $23,218
     (1)   Inception date
     (2)   Per share amounts calculated using average shares outstanding method.
     (3)   Includes the impact of expense-related arrangements with Price Associates.
     (4)   Total return reflects the rate that an investor would have earned on an investment in the fund during each period,
           assuming reinvestment of all distributions, and payment of no redemption or account fees, if applicable. Total
           return is not annualized for periods less than one year.
     (5)   Annualized
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    DISCLOSURE OF FUND PORTFOLIO INFORMATION


    Most T. Rowe Price Funds disclose their portfolio holdings periodically on troweprice.com. A
    description of the policies and procedures with respect to the disclosure of portfolio holdings and
    other portfolio information for the T. Rowe Price Funds is available in the SAI.
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      INFORMATION ABOUT ACCOUNTS
      IN T. ROWE PRICE FUNDS
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    The following policies and procedures generally apply to Investor Class, I Class, Advisor Class,
    R Class, and Z Class accounts in the T. Rowe Price Funds. The front cover and Section 1 of this
    prospectus indicate which share classes are available for the fund.



    INVESTING WITH T. ROWE PRICE


    This section of the prospectus explains the basics of investing with T. Rowe Price and describes
    some of the different share classes that may be available. Certain share classes can be held
    directly with T. Rowe Price, while other share classes must typically be held through a financial
    intermediary, such as broker-dealers, banks, insurance companies, retirement plan
    recordkeepers, and investment advisers.



    AVAILABLE SHARE CLASSES


    Each class of a fund’s shares represents an interest in the same fund with the same investment
    program and investment policies. However, each class is designed for a different type of investor
    and has a different cost structure primarily due to shareholder services or distribution
    arrangements that may apply only to that class. For example, certain classes may make
    payments to financial intermediaries for various administrative services they provide (commonly
    referred to as administrative fee payments) and/or make payments to certain financial
    intermediaries for distribution of the fund’s shares (commonly referred to as 12b-1 fee payments).
    Determining the most appropriate share class depends on many factors, including how much you
    plan to invest, whether you are investing directly in the fund or through a financial intermediary,
    and whether you are investing on behalf of a person or an organization.

    This section generally describes the differences between Investor Class, I Class, Advisor Class,
    R Class, and Z Class shares. This section does not describe the policies that apply to accounts
    in T. Rowe Price Institutional Funds and certain other types of funds. Policies for these other
    funds are described in their respective prospectuses, and all types of T. Rowe Price Funds and
    available share classes are described more fully in the funds’ SAI. While many T. Rowe Price
    Funds are offered in more than one share class, not all funds offer all of the share classes
    described in this section.

    Investor Class
    A T. Rowe Price Fund that does not include the term “institutional” or indicate a specific share
    class as part of its name is considered to be the Investor Class of that fund. The Investor Class is
    available to individual investors, institutions, and a wide variety of other types of investors. The
    Investor Class may be purchased directly from T. Rowe Price or through a retirement plan or
    financial intermediary. The Investor Class does not impose a sales charge and does not make
    any 12b-1 fee payments to financial intermediaries but may make administrative fee payments at
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    an annual rate of up to 0.15% of the class’ average daily net assets. In addition, you may also
    incur brokerage commissions and other charges when buying or selling Investor Class shares
    through a financial intermediary. For investors holding the Investor Class through the T. Rowe
    Price® ActivePlus Portfolios program, the terms and conditions of the program will be applicable.

    I Class
    The I Class may be purchased directly from T. Rowe Price or through a retirement plan or a
    financial intermediary. The I Class does not impose sales charges and does not make any
    administrative fee payments or 12b-1 fee payments to financial intermediaries. However, you
    may incur brokerage commissions and other charges when buying or selling I Class shares
    through a financial intermediary.

    The I Class requires a $500,000 minimum initial investment per fund per account registration,
    although the minimum generally is waived or reduced for financial intermediaries, eligible
    retirement plans, certain accounts for which T. Rowe Price or its affiliates have discretionary
    investment authority, and certain other accounts.

    Certain qualifying accounts are eligible to invest in the I Class at a lower investment minimum
    through programs available to investors holding their accounts directly with T. Rowe Price,
    including, but not limited to, programs for which T. Rowe Price or its affiliates have discretionary
    authority. For investors eligible for the I Class through such programs, the terms and conditions,
    including applicable minimums, of the respective program will apply. Certain accounts, including
    most T. Rowe Price Brokerage sweep accounts and small business retirement plans with more
    than one participant that are held directly with T. Rowe Price, are not eligible to invest in the
    I Class, regardless of account balance.

    Advisor Class
    The Advisor Class is designed to be sold through various financial intermediaries, such as
    broker-dealers, banks, insurance companies, retirement plan recordkeepers, and advisers. The
    Advisor Class must be purchased through an eligible financial intermediary (except for certain
    retirement plans held directly with T. Rowe Price). The Advisor Class does not impose sales
    charges but may make 12b-1 fee payments at an annual rate of up to 0.25% of the class’
    average daily net assets and may also separately make administrative fee payments at an
    annual rate of up to 0.15% of the class’ average daily net assets. You may also incur other fees
    or charges when buying or selling Advisor Class shares through a financial intermediary.

    The Advisor Class requires an agreement between the financial intermediary and T. Rowe Price
    to be executed prior to investment. Purchases of Advisor Class shares for which the required
    agreement with T. Rowe Price has not been executed or that are not made through an eligible
    financial intermediary are subject to rejection or cancellation without prior notice to the financial
    intermediary or investor, and accounts that are no longer eligible for the Advisor Class (including
    any accounts that are no longer serviced by a financial intermediary or for which the financial
    intermediary does not accept or assess 12b-1 fee payments) may be converted to the Investor
    Class following notice to the financial intermediary or investor.
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     R Class
     The R Class is designed to be sold through financial intermediaries for employer-sponsored
     defined contribution retirement plans and certain other retirement accounts. The R Class must be
     purchased through an eligible financial intermediary (except for certain retirement plans held
     directly with T. Rowe Price). The R Class does not impose sales charges but may make 12b-1
     fee payments at an annual rate of up to 0.50% of the class’ average daily net assets and may
     also separately make administrative fee payments at an annual rate of up to 0.15% of the class’
     average daily net assets. You may also incur other fees or charges when buying or selling
     R Class shares through a financial intermediary.

     The R Class requires an agreement between the financial intermediary and T. Rowe Price to be
     executed prior to investment. Purchases of R Class shares for which the required agreement
     with T. Rowe Price has not been executed or that are not made through an eligible financial
     intermediary are subject to rejection or cancellation without prior notice to the financial
     intermediary or investor, and accounts that are no longer eligible for the R Class (including any
     accounts that are no longer serviced by a financial intermediary or for which the financial
     intermediary does not accept or assess 12b-1 fee payments) may be converted to the Investor
     Class or Advisor Class following notice to the financial intermediary or investor.

     Z Class
     The Z Class is only available to funds managed by T. Rowe Price and other advisory clients of
     T. Rowe Price or its affiliates that are subject to a contractual fee for investment management
     services. There is no minimum initial investment and no minimum for additional purchases. The
     Z Class does not impose sales charges and does not make any administrative fee payments or
     12b-1 fee payments to financial intermediaries.



     DISTRIBUTION AND SHAREHOLDER SERVICING FEES


     Administrative Fee Payments (Investor Class, Advisor Class, and R Class)
     Certain financial intermediaries perform recordkeeping and administrative services for their
     clients that would otherwise be performed by the funds’ transfer agent. Investor Class, Advisor
     Class, and R Class shares may make administrative fee payments to retirement plan
     recordkeepers, broker-dealers, and other financial intermediaries (at an annual rate of up to
     0.15% of the class’ average daily net assets) for transfer agency, recordkeeping, and other
     administrative services that they provide on behalf of the funds. These administrative services
     may include maintaining account records for each customer; transmitting purchase and
     redemption orders; delivering shareholder confirmations, statements, and tax forms; and
     providing support to respond to customers’ questions regarding their accounts. Except for funds
     that pay an annual all-inclusive fee, these separate administrative fee payments are reflected in
     the “Other expenses” line that appears in the table titled “Fees and Expenses of the Fund” in
     Section 1 of this prospectus.
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    12b-1 Fee Payments (Advisor Class and R Class)
    Mutual funds are permitted to adopt a 12b-1 plan to pay certain expenses associated with the
    distribution of the fund’s shares out of the fund’s assets. Each fund offering Advisor Class and/or
    R Class shares has adopted a 12b-1 plan under which those classes may make payments (for
    the Advisor Class, at an annual rate of up to 0.25% of the class’ average daily net assets and, for
    the R Class, at an annual rate of up to 0.50% of the class’ average daily net assets) to various
    financial intermediaries, such as broker-dealers, banks, insurance companies, retirement plan
    recordkeepers, and investment advisers, for distribution and/or shareholder servicing of the
    Advisor Class and R Class shares. The 12b-1 plans provide for the class to pay such fees to the
    fund’s distributor and for the distributor to then pay such fees to the financial intermediaries that
    provide services for the class and/or make the class available to investors.

    For the Advisor Class, distribution payments may include payments to financial intermediaries for
    making the Advisor Class shares available to their customers (for example, providing the fund
    with “shelf space” or inclusion on a “preferred list” or “supermarket” platform). For the R Class,
    distribution payments may include payments to financial intermediaries for making the R Class
    shares available as investment options to retirement plans and retirement plan participants,
    assisting plan sponsors in conducting searches for investment options, and providing ongoing
    monitoring of investment options.

    Shareholder servicing payments under the plans may include payments to financial
    intermediaries for providing shareholder support services to existing shareholders of the Advisor
    Class and R Class. These payments may be more or less than the costs incurred by the financial
    intermediaries. Because the fees are paid from the Advisor Class or R Class net assets on an
    ongoing basis, they will increase the cost of your investment over time. In addition, payments of
    12b-1 fees may influence your financial adviser’s recommendation of the fund or of any particular
    share class of the fund. Payments of 12b-1 fees are reflected in the “Distribution and service
    (12b-1) fees” line that appears in the table titled “Fees and Expenses of the Fund” in Section 1 of
    this prospectus.

    Additional Compensation to Financial Intermediaries
    In addition to the administrative fee payments made by the Investor Class, Advisor Class, and
    R Class and the 12b-1 payments made by the Advisor Class and R Class, T. Rowe Price or its
    affiliates will, at their own expense and out of their own profits, provide compensation to certain
    financial intermediaries that have sold shares of or provide shareholder or other services to the
    T. Rowe Price Funds, commonly referred to as revenue sharing. These payments may be in the
    form of asset-based, transaction-based, or flat payments. These payments are used to
    compensate financial intermediaries for distribution and shareholder servicing activities, including
    subaccounting, sub-transfer agency, or other services. Some of these payments may include
    expense reimbursements and meeting and marketing support payments (out of T. Rowe Price’s
    or its affiliates’ own resources and not as an expense of the funds) to financial intermediaries,
    such as broker-dealers, banks, insurance companies, retirement plan recordkeepers, and
    investment advisers, in connection with the sale, distribution, marketing, and/or servicing of the
    T. Rowe Price Funds. The SAI provides more information about these payment arrangements.
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     The receipt of, or the prospect of receiving, these payments and expense reimbursements from
     T. Rowe Price or its affiliates may influence financial intermediaries, plan sponsors, and other
     third parties to offer or recommend T. Rowe Price Funds over other investment options for which
     an intermediary does not receive additional compensation (or receives lower levels of additional
     compensation). In addition, financial intermediaries that receive these payments and/or expense
     reimbursements may elevate the prominence of the T. Rowe Price Funds by, for example,
     placing the T. Rowe Price Funds on a list of preferred or recommended funds and/or providing
     preferential or enhanced opportunities to promote the T. Rowe Price Funds in various ways.
     Since these additional payments are not paid by a fund directly, these arrangements do not
     increase fund expenses and will not change the price that an investor pays for shares of the
     T. Rowe Price Funds or the amount that is invested in a T. Rowe Price Fund on behalf of an
     investor. You may ask your financial intermediary for more information about any payments they
     receive from T. Rowe Price or its affiliates.

     Comparison of Distribution and Shareholder Servicing Fees
     The following table summarizes the distribution and service (12b-1) fee and administrative fee
     arrangements applicable to each class based on its average daily net assets.

     Class                             12b-1 Fee Payments             Administrative Fee Payments
     Investor Class                            None                      Up to 0.15% per year
     I Class                                   None                               None
     Advisor Class                     Up to 0.25% per year              Up to 0.15% per year
     R Class                           Up to 0.50% per year              Up to 0.15% per year
     Z Class                                   None                               None


     ACCOUNT SERVICE FEE


     Investor Class
     In an effort to help offset the disproportionately high costs incurred by the funds in connection
     with servicing lower-balance accounts that are held directly with the T. Rowe Price Funds’
     transfer agent, an annual $20 account service fee (paid to T. Rowe Price Services, Inc., or one of
     its affiliates) is charged to certain Investor Class accounts with a balance below $10,000. The
     determination of whether a fund account is subject to the account service fee is based on
     account balances and services selected for accounts as of the last business day of August of
     each calendar year. The fee may be charged to an account with a balance below $10,000 for any
     reason, including market fluctuation and recent redemptions. The fee, which is automatically
     deducted from an account by redeeming fund shares, is typically charged to accounts in early
     September each calendar year. Such redemption may result in a taxable gain or loss to you.

     The account service fee generally does not apply to fund accounts that are held through a
     financial intermediary, participant accounts in employer-sponsored retirement plans for which
     T. Rowe Price Retirement Plan Services provides recordkeeping services, accounts held through
     the T. Rowe Price® ActivePlus Portfolios program, or Retirement Advisory Service™, or money
     market funds that are used as a T. Rowe Price Brokerage sweep account. The account service
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    fee is automatically waived for accounts that satisfy any of the following conditions as of the last
    business day in August:

    • Any accounts for which the shareholder has elected to receive electronic delivery of all of the
      following: account statements, transaction confirmations, prospectuses, and shareholder
      reports (paper copies of fund documents are available, free of charge, upon request, to any
      shareholder regardless of whether the shareholder has elected electronic delivery);
    • Any accounts of a shareholder with at least $50,000 in total assets with T. Rowe Price (for this
      purpose, total assets include investments through T. Rowe Price Brokerage and investments
      in T. Rowe Price Funds, except for those held through a retirement plan for which T. Rowe
      Price Retirement Plan Services provides recordkeeping services); or
    • Certain accounts enrolled in the T. Rowe Price Summit Program (visit troweprice.com or call
      1-800-332-6161 for more information).

    T. Rowe Price reserves the right to authorize additional waivers for other types of accounts or to
    modify the conditions for assessment of the account service fee. Fund shares held in a T. Rowe
    Price individual retirement account (IRA), Education Savings Account, or small business
    retirement plan account (including certain 403(b) plan accounts) are subject to the account
    service fee and may be subject to additional administrative fees when distributing all fund shares
    from such accounts.



    POLICIES FOR OPENING AN ACCOUNT


    Investor Class and I Class shares may be purchased directly from T. Rowe Price or through
    various financial intermediaries. Advisor Class and R Class shares must be purchased through a
    financial intermediary (except for certain retirement plans held directly with T. Rowe Price). If you
    are opening an account through an employer-sponsored retirement plan or other financial
    intermediary, you should contact the retirement plan or financial intermediary for information
    regarding its policies on opening an account, including the policies relating to purchasing,
    exchanging, and redeeming shares, and the applicable initial and subsequent investment
    minimums.

    Tax Identification Number
    Investors must provide T. Rowe Price with a valid Social Security number or taxpayer
    identification number on a signed new account form or Form W-9, and financial intermediaries
    must provide T. Rowe Price with their certified taxpayer identification number. Otherwise, federal
    law requires the funds to withhold a percentage of dividends, capital gain distributions, and
    redemptions and may subject you or the financial intermediary to an Internal Revenue Service
    penalty. If this information is not received within 60 days of the account being established, the
    account may be redeemed at the fund’s then-current net asset value.

    Important Information Required to Open a New Account
    Pursuant to federal law, all financial institutions must obtain, verify, and record information that
    identifies each person or entity that opens an account. This information is needed not only for the
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     account owner and any other person who opens the account, but also for any person who has
     authority to act on behalf of the account.

     When you open an account, you will be required to provide the name, U.S. street address (post
     office boxes are not acceptable), date of birth, and Social Security number or taxpayer
     identification number for each account owner and person(s) opening an account on behalf of
     others, such as custodians, agents, trustees, or other authorized signers. When opening an
     entity account, you will be asked to identify and provide personal information for: (i) any individual
     who, either directly or indirectly, owns 25% or more of the equity interest of the entity and (ii) a
     single individual who controls, manages, or directs the entity. Corporate and other institutional
     accounts require documents showing the existence of the entity (such as articles of incorporation
     or partnership agreements) to open an account. Certain other fiduciary accounts (such as trusts
     or power of attorney arrangements) require documentation, which may include an original or
     certified copy of the trust agreement or power of attorney, to open an account.

     T. Rowe Price will use this information to verify the identity of the person(s)/entity opening the
     account. An account cannot be opened until all of this information is received. If the identity of the
     account holder cannot be verified, T. Rowe Price is authorized to take any action permitted by
     law, including, but not limited to, restricting additional purchases, freezing the account, or closing
     the account and redeeming the shares in the account at the net asset value next calculated after
     the redemption is processed (See “Rights Reserved by the Funds” later in this section.)

     Institutional investors and financial intermediaries should call Client Account Management at
     1-800-638-8790 for more information on these requirements, as well as to be assigned an
     account number and to receive instructions for opening an account. Other investors should call
     Investor Services at 1-800-638-5660 for more information about these requirements.

     The funds are generally available only to investors residing in the United States.

     Retail Money Market Funds
     Money market funds that operate as “retail money market funds” pursuant to Rule 2a-7 under the
     Investment Company Act of 1940, as amended (1940 Act) are required to limit their beneficial
     owners to natural persons. An investor in a retail money market fund is required to demonstrate
     eligibility (for example, by providing a valid Social Security number) before an account can be
     opened. The retail money market funds have also obtained assurances from financial
     intermediaries that sell the funds that they have developed adequate procedures to limit
     accounts to only those beneficially owned by natural persons. Any new investors wishing to
     purchase shares will be required to demonstrate eligibility (for example, by providing their Social
     Security number). The retail money market funds will, upon advance written notification,
     involuntarily redeem investors that do not satisfy these eligibility requirements.
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    PRICING OF SHARES AND TRANSACTIONS


    How and When Shares Are Priced
    Your transaction request will normally be executed using the next share price, also referred to as
    the net asset value, calculated after your order is received in correct form by the fund or its agent
    (or by your financial intermediary if it has the authority to accept transaction orders on behalf of
    the fund).

    The information set forth in the following table regarding times relevant to net asset value
    determination applies only to regular business days.

    Fund                                             Daily Share Price Calculation Times

    All funds other than Government      • As of close of trading on the NYSE, generally 4 p.m. ET.
    Money and U.S. Treasury Money
    Funds

    Government Money and U.S.            • As of 5 p.m. ET, unless the NYSE closes early. (If the
    Treasury Money Funds
                                           NYSE closes early, as of the close of trading on the
                                           NYSE.)



    Net asset values are not calculated for the funds on days when the NYSE is scheduled to be
    closed for trading (for example, weekends and certain U.S. national holidays). If the NYSE is
    unexpectedly closed due to weather or other extenuating circumstances on a day it would
    typically be open for business, or if the NYSE has an unscheduled early closing on a day it has
    opened for business, or as may be permitted by the SEC, the funds reserve the right to treat
    such day as a regular business day and accept purchase and redemption orders and calculate
    their share price as of their normally scheduled share price calculation times.

    To calculate the net asset value, the fund’s assets are valued and totaled; liabilities are
    subtracted; and each class’ proportionate share of the balance, called net assets, is divided by
    the number of shares outstanding of that class. Market values are used to price portfolio holdings
    for which market quotations are readily available. Market values generally reflect the prices at
    which securities actually trade or represent prices that have been adjusted based on evaluations
    and information provided by the fund’s pricing services. Investments in other mutual funds are
    valued at the closing net asset value per share of the mutual fund on the day of valuation.
    Investments for which market quotations are not readily available or deemed unreliable are
    valued at fair value as determined in good faith by T. Rowe Price, as the valuation designee,
    designated by the Board, by taking into account various, adopted factors and methodologies for
    determining the fair value. This value may differ from the value the fund receives upon sale of the
    securities.

    Amortized cost is used to price securities held by money market funds and certain short-term
    debt securities held by other funds. The retail and government money market funds, which seek
    to maintain a stable net asset value of $1.00, use the amortized cost method of valuation to
    calculate their net asset value. Amortized cost allows the money market funds to value a holding
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     at the fund’s acquisition cost with adjustments for any premiums or discounts and then round the
     net asset value per share to the nearest whole cent. The amortized cost method of valuation
     enables the money market funds to maintain a $1.00 net asset value, but it may also result in
     periods during which the stated value of a security held by the funds differs from the market-
     based price the funds would receive if they sold that holding. The current market-based net asset
     value per share for each business day in the preceding six months is available for the retail and
     government money market funds through troweprice.com/money-market/en/money-market-fund-
     information.html. These market-based net asset values are for informational purposes only and
     are not used to price transactions.

     T. Rowe Price uses various pricing services to obtain closing market prices, as well as
     information used to adjust those prices and to value most fixed income securities. T. Rowe Price
     cannot predict how often it will use closing prices or how often it will adjust those prices. T. Rowe
     Price routinely evaluates its fair value processes.

     Non-U.S. equity securities are valued on the basis of their most recent closing market prices at
     4 p.m. ET, except under the following circumstances. Most foreign markets close before
     4 p.m. ET. For example, the most recent closing prices for securities traded in certain Asian
     markets may be as much as 15 hours old at 4 p.m. ET. If T. Rowe Price determines that
     developments between the close of a foreign market and the close of the NYSE will, in its
     judgment, affect the value of some or all of the fund’s securities, T. Rowe Price will adjust the
     previous closing prices to reflect what it believes to be the fair value of the securities as of
     4 p.m. ET. In deciding whether to make these adjustments, T. Rowe Price reviews a variety of
     factors, including developments in foreign markets, the performance of U.S. securities markets,
     and the performance of instruments trading in U.S. markets that represent foreign securities and
     baskets of foreign securities.

     T. Rowe Price may also fair value certain securities or a group of securities in other situations—
     for example, when a particular foreign market is closed but the fund is open. For a fund that has
     investments in securities that are primarily listed on foreign exchanges that trade on weekends or
     other days when the fund does not price its shares, the fund’s net asset value may change on
     days when shareholders will not be able to purchase or redeem the fund’s shares. If an event
     occurs that affects the value of a security after the close of the market, such as a default of a
     commercial paper issuer or a significant move in short-term interest rates, T. Rowe Price may
     make a price adjustment depending on the nature and significance of the event. T. Rowe Price
     also evaluates a variety of factors when assigning fair values to private placements and other
     restricted securities. Other mutual funds may adjust the prices of their securities by different
     amounts or assign different fair values than the fair value that the fund assigns to the same
     security.

     The various ways you can purchase, sell, and exchange shares are explained throughout
     this section. These procedures differ based on whether you hold your account directly
     with T. Rowe Price or through an employer-sponsored retirement plan or financial
     intermediary.
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    INVESTING DIRECTLY WITH T. ROWE PRICE


    The following policies apply to accounts that are held directly with T. Rowe Price and not through
    a financial intermediary.

    Options for Opening Your Account
    If you own other T. Rowe Price Funds, you should consider registering any new account
    identically to your existing accounts so you can exchange shares among them easily (the
    name(s) of the account owner(s) and the account type must be identical).

    For joint accounts or other types of accounts owned or controlled by more than one party, either
    owner/party has complete authority to act on behalf of all and give instructions concerning the
    account without notice to the other party. T. Rowe Price may, in its sole discretion, require written
    authorization from all owners/parties to act on the account for certain transactions (for example,
    to transfer ownership). There are multiple ways to establish a new account directly with T. Rowe
    Price.

    Online In general, you can open a new Investor Class or I Class account online. Go to
    troweprice.com/newaccount to choose the type of account you wish to open.

    You can exchange shares online from an existing account in one fund to open a new account in
    another fund. The new account will have the same registration as the account from which you
    are exchanging, and any services (other than systematic purchase and systematic distribution
    arrangements) that you have preauthorized will carry over from the existing account to the new
    account.

    To open an account online for the first time or with a different account registration, you must be a
    U.S. citizen residing in the U.S. or a resident alien and not subject to Internal Revenue Service
    backup withholding. Additionally, you must provide consent to receive certain documents
    electronically. You will have the option of providing your bank account information, which will
    enable you to make electronic funds transfers to and from your bank account. To set up this
    banking service online, additional steps will be taken to verify your identity.

    By Mail If you are sending a check, please make your check payable to T. Rowe Price Funds
    (otherwise it may be returned) and send the check, together with the applicable new account
    form, to the appropriate address. (Please refer to the appropriate address under “Contacting
    T. Rowe Price” later in this section to avoid a delay in opening your new account.) T. Rowe Price
    does not accept third-party checks for initial purchases; however, third-party checks are typically
    accepted for additional purchases to an existing account. In addition, T. Rowe Price does not
    accept purchases by cash, traveler’s checks, money orders, or credit card checks. For
    exchanges from an identically registered account, be sure to specify the fund(s) and account
    number(s) that you are exchanging out of and the fund(s) you wish to exchange into.

    By Telephone Direct investors can call Shareholder Services at 1-800-225-5132 (institutional
    investors should call 1-800-638-8790) to exchange from an existing fund account to open a new
    identically registered account in another fund. You may also be eligible to open a new account by
    telephone and provide your bank account information in order to make an initial purchase. To set
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     up the account and banking service by telephone, additional steps will be taken to verify your
     identity and the authenticity of your bank account. Although the account may be opened and the
     purchase made, services may not be established and an Internal Revenue Service penalty
     withholding may occur until we receive the necessary signed form to certify your Social Security
     number or taxpayer identification number.

     How Your Trade Date Is Determined
     In general, if you invest directly with T. Rowe Price and your request to purchase, sell, or
     exchange shares is received by the fund or its agent in correct form by the fund’s applicable daily
     share price calculation time, your transaction will be priced at that business day’s net asset
     value. If your request is received by the fund or its agent in correct form after the fund’s
     applicable daily share price calculation time, your transaction will be priced at the next business
     day’s net asset value. The funds’ daily share price calculation times are detailed under the
     heading “How and When Shares are Priced.” However, with respect to each of the Government
     Money and U.S. Treasury Money Funds, which normally calculate their daily share prices as of
     5 p.m. ET, certain accounts that are held directly with T. Rowe Price (including, for example,
     certain retirement plans and T. Rowe Price brokerage accounts) must place their order prior to
     the close of trading on the NYSE (normally 4 p.m. ET) in order to receive that day’s share price.
     Contact T. Rowe Price for more information.

     Systematic transactions that are scheduled to occur on a date the NYSE is closed will normally
     be processed the next business day (except for certain retirement plan payroll deduction orders
     generated by T. Rowe Price where the orders are processed the day before the day the NYSE is
     closed).

     Note: There may be times when you are unable to contact us by telephone or access your
     account online due to extreme market activity, the unavailability of the T. Rowe Price website, or
     other circumstances. Should this occur, your order must still be placed and received in correct
     form by T. Rowe Price prior to the fund’s applicable daily share price calculation time to be priced
     at that business day’s net asset value. The time at which transactions and shares are priced and
     the time until which orders are accepted may be changed in case of an emergency or if the
     NYSE closes at a time other than 4 p.m. ET. The funds reserve the right to not treat an
     unscheduled intraday disruption or closure in NYSE trading as a closure of the NYSE and still
     accept transactions and calculate their net asset value as of the fund’s applicable daily share
     price calculation times.

     Transaction Confirmations
     T. Rowe Price sends immediate confirmations for most of your fund transactions. However,
     certain transactions, such as systematic purchases and systematic redemptions, dividend
     reinvestments, checkwriting redemptions from money market funds, and transactions in money
     market funds used as a brokerage sweep account, do not receive an immediate transaction
     confirmation but are reported on your account statement. Please review transaction
     confirmations and account statements as soon as you receive them and promptly report any
     discrepancies to Shareholder Services.
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    Telephone and Online Account Transactions
    You may access your accounts and conduct most transactions involving Investor Class or I Class
    accounts using the telephone or the T. Rowe Price website at troweprice.com. Telephone
    conversations are recorded.

    Preventing Unauthorized Transactions
    The T. Rowe Price Funds and their agents use reasonably designed procedures to verify that
    telephone, electronic, and other instructions are genuine. These procedures include, among
    other things, recording telephone calls, requiring personalized security codes or other information
    online and certain identifying information for telephone calls, requiring Medallion signature
    guarantees for certain transactions and account changes, and promptly sending confirmations of
    transactions and address changes. For transactions conducted online, we recommend the use of
    a secure internet browser.

    T. Rowe Price Account Protection Program Shareholders who invest in the T. Rowe Price
    Funds directly are eligible for the Account Protection Program. The Account Protection Program
    restores eligible losses due to unauthorized or fraudulent activity where you have followed the
    appropriate security best practices to protect and maintain your account(s). T. Rowe Price
    reserves the right to modify or withdraw the Account Protection Program at any time. The
    Account Protection Program security best practices and additional information may be accessed
    online at troweprice.com/personal-investing/help/policies-and-security/account-protection-
    program.html.

    If our verification procedures are followed and the losses are not eligible to be restored under the
    Account Protection Program, the funds and their agents are not liable for any losses that may
    occur from acting on unauthorized instructions.

    If you suspect any unauthorized account activity, notice errors or discrepancies in your T. Rowe
    Price account, or are not receiving your T. Rowe Price account statements, please contact
    T. Rowe Price as soon as possible. Telephone conversations are recorded.

    Trusted Contacts Investors who hold shares of a T. Rowe Price Fund directly or through a
    T. Rowe Price Brokerage account have the option to add one or more trusted contacts to their
    brokerage and mutual fund accounts. Trusted contacts are intended to be a resource to help
    protect client assets. Any individual designated as a trusted contact will be authorized to serve as
    a primary contact if T. Rowe Price has questions or concerns related to potentially fraudulent
    account activity or suspected financial exploitation or to confirm your contact information if we are
    unable to reach you (but are not authorized to act on your account). For more information or to
    add trusted contacts to your account, visit troweprice.com or call 1-800-225-5132.

    If you are age 65 or older, or if you are age 18 or older and we have reason to believe you have
    a mental or physical impairment that renders you unable to protect your own interest, we may
    temporarily restrict transactions in your account and place a temporary hold on the disbursement
    of redemption proceeds from your account in an effort to protect you if we reasonably believe
    that you have been or will be the victim of actual or attempted financial exploitation. You will
    receive notice of this temporary delay, and it will be for no more than 15 business days while we
    conduct an internal review of the suspected financial exploitation (including contacting your
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     trusted contact if one is on file). We may delay an additional 10 business days if T. Rowe Price
     reasonably believes that actual or attempted financial exploitation has occurred or will occur. At
     the expiration of the hold time, if we have not confirmed that exploitation has occurred, the
     proceeds will be released to you. Depending upon the state in which you reside, we may be
     required to report to the authorities suspected elder or vulnerable adult exploitation.

     Purchasing Shares
     Shares may be purchased in a variety of ways.

     By Check Please make your check payable to the T. Rowe Price Funds. Include a new account
     form if establishing a new account, and include either a fund investment slip or a letter indicating
     the fund and your account number if adding to an existing account. Your transaction will receive
     the share price for the business day that the request is received by the fund or its agent, so long
     as the request is received in correct form prior to the time at which the fund calculates its daily
     share price (not the day the request is received at the post office box). The funds’ daily share
     price calculation times are detailed under the heading “How and When Shares are Priced.”

     By Electronic Transfer Shares may be purchased using the Automated Clearing House
     network if you have established the service on your account, which allows the fund or its agent to
     request payment for your shares directly from your bank account or other financial institution
     account. You may also arrange for a wire to be sent to the fund or its agent (wire transfer
     instructions can be found at troweprice.com/wireinstructions or by calling Shareholder Services).
     The fund or its agent must receive the order and the money funding the order by the time it
     calculates its daily share price to receive that day’s share price.

     With respect to Government Money and U.S. Treasury Money Funds only: In some
     circumstances, a purchase order may be provided to a fund or its agent separately from the wire
     funding the order. If a purchase order is received by the fund or its agent in correct form and the
     payment funding the order is wired to and received by the fund prior to the time at which the fund
     calculates its daily share price (normally 5 p.m. ET), then that purchase will generally receive that
     day’s share price. However, if the payment funding the order is received by the fund or its agent
     after the time at which the fund calculates its daily share price (even if the purchase order is
     received by the fund or its agent prior to the time at which the fund calculates its daily share
     price, generally 5 p.m. ET), then T. Rowe Price may, in its sole discretion: (1) cancel the order,
     (2) process the order as the next calculated daily share price (generally, the following business
     day), or (3) accept the order and process it using that day’s share price, so long as the wire was
     received prior to the close of the Federal wire system, which is generally 6:45 p.m. ET.

     Purchase orders for certain accounts that are held directly with T. Rowe Price (including, for
     example, certain retirement plan accounts and T. Rowe Price brokerage accounts) must be
     placed and received in correct form prior to the close of trading on the NYSE (normally
     4 p.m. ET) in order receive that day’s price. Contact T. Rowe Price for more information.

     There is no assurance that you will receive the share price for the same day you initiated the wire
     from your financial institution.
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    By Exchange You may purchase shares of a fund using the proceeds from the redemption of
    shares from another fund. The redemption and purchase will receive the same trade date, and if
    you are establishing a new account, it will have the same registration as the account from which
    you are exchanging. The purchase must still generally meet the applicable minimum investment
    requirement.

    In general, the share prices you will receive for exchanges are based upon the net asset value
    that is next calculated after the funds receive your order. However, exchange requests will only
    be processed when both funds are open (i.e., prior to the time t which both funds calculate their
    applicable daily share price). As a result, an exchange might not be completed on the date on
    which an order is received if one of the funds in the exchange has closed (i.e., after the time at
    which the fund has calculated its applicable daily share price). In such case, you will remain
    invested in the fund from which you are redeeming until the exchange is processed, which is
    typically the following business day. Exchange orders between most funds must be placed and
    received in correct form by the close of trading on the NYSE (normally 4 p.m. ET) to be
    processed that day. However, exchanges between Government Money and U.S. Treasury
    Money Funds must be placed and received in correct form by the time at which the funds
    calculate their daily share prices (generally 5 p.m. ET). Exchange orders for certain accounts that
    are held directly with T. Rowe Price (including, for example, certain retirement plan accounts and
    T. Rowe Price brokerage accounts) must be placed and received in correct form prior to the
    close of trading on the NYSE (normally 4 p.m. ET), regardless of when a fund calculates its daily
    share price.

    Systematic Purchases (Automatic Asset Builder) You can instruct T. Rowe Price to
    automatically transfer money from your account at your bank or other financial institution at least
    once per month, or you can instruct your employer to send all or a portion of your paycheck to
    the fund or funds that you designate. Each systematic purchase must be at least $100 per fund
    account to be eligible for the Automatic Asset Builder service. To automatically transfer money to
    your account from a bank account or through payroll deductions, complete the appropriate
    section of the new account form when opening a new account or complete an Account Services
    Form to add the service to an existing account. Prior to establishing payroll deductions, you must
    set up the service with T. Rowe Price so that the appropriate instructions can be provided to your
    employer.

    Note: The fund may permit institutional investors to submit purchase orders for shares through
    various other electronic methods as well, if approved by Client Account Management.

    Initial Investment Minimums
    Investor Class accounts, other than the Retirement Income Funds and Summit Funds, require a
    $2,500 minimum initial investment ($1,000 minimum initial investment for IRAs; certain small
    business retirement plan accounts; and custodial accounts for minors, known as Uniform Gifts to
    Minors Act or Uniform Transfers to Minors Act accounts). The Retirement Income Funds and
    Summit Funds require a $25,000 minimum initial investment. I Class accounts require a
    $500,000 minimum initial investment per fund for each account registration, although the
    minimum is waived or reduced for certain accounts. If you request the I Class of a particular fund
    when you open a new account, but the investment amount does not meet the applicable
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     minimum, the purchase will be automatically invested in the Investor Class of the same fund (if
     available).

     Additional Investment Minimums
     Investor Class accounts, other than Summit Funds, require a $100 minimum for additional
     purchases, including those made through Automatic Asset Builder. Summit Funds require a $100
     minimum for additional purchases through Automatic Asset Builder and a $1,000 minimum for all
     other additional purchases. I Class accounts require a $100 minimum for additional purchases
     through Automatic Asset Builder but do not require a minimum amount for other additional
     purchases.

     Exchanging and Redeeming Shares
     Exchanges You can move money from one account to an existing, identically registered
     account or open a new identically registered account. For taxable accounts, an exchange from
     one fund to another will be reported to the Internal Revenue Service as a sale for tax purposes.
     (Institutional investors are restricted from exchanging into a fund that operates as a retail money
     market fund.) You can set up systematic exchanges so that money is automatically moved from
     one fund account to another on a regular basis. In general, exchanges are based upon the net
     asset value that is next calculated after the funds received your order. However, exchange
     requests will only be processed when both funds are open (i.e., prior to the time at which both
     funds calculate their daily share price). As a result, an exchange might not be completed on the
     date on which an order is received if one of the funds in the exchange has closed (i.e., after the
     time at which both funds calculate their daily share price). In such case, you will remain invested
     in the fund from which you are redeeming until the exchange is processed, which is typically the
     following business day. Exchange orders between most funds must be placed and received in
     correct form by the close of the NYSE (normally 4 p.m. ET) to be processed that day. However,
     exchanges between Government Money and U.S. Treasury Money Funds must be placed and
     received in correct form by the time at which the funds calculate their daily share prices
     (generally 5 p.m. ET). Exchange orders for certain accounts that are held directly with T. Rowe
     Price (including, for example, certain retirement plan accounts and T. Rowe Price brokerage
     accounts) must be placed and received in correct form prior to the close of the NYSE (normally
     4 p.m. ET), regardless of when a fund calculates its daily share price.

     Receiving Redemption Proceeds Redemption proceeds can be mailed to your account
     address by check or sent electronically to your bank account by Automated Clearing House
     transfer or bank wire. You can set up systematic redemptions and have the proceeds
     automatically sent via check or Automated Clearing House on a regular basis. Except for money
     market funds, if your request is received in correct form by the fund or its agent on a business
     day prior to the time indicated in the table under the heading “How and When Shares are Priced,”
     proceeds are usually sent on the next business day.

     Proceeds sent by Automated Clearing House transfer are usually credited to your account the
     second business day after the sale, and there are typically no fees associated with such
     payments. Proceeds sent by bank wire are usually credited to your account the next business
     day after the sale (except for wire redemptions from money market funds). A $5 fee will be
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    charged for an outgoing wire of less than $5,000, in addition to any fees your financial institution
    may charge for an incoming wire.

    If, for some reason, your request to exchange or redeem shares cannot be processed
    because it is not received in correct form, we will attempt to contact you as soon as
    administratively possible.

    If you request to redeem a specific dollar amount and the market value of your account is less
    than the amount of your request and we are unable to contact you, your redemption will not be
    processed and you must submit a new redemption request in correct form.

    If you change your address on an account, proceeds may not be mailed to the new address for
    15 calendar days after the address change, unless we receive a letter of instruction with a
    Medallion signature guarantee.

    Please note that large purchase and redemption requests initiated through the Automated
    Clearing House may be rejected, and in such instances, the transaction must be placed by
    calling Shareholder Services.

    Note: The fund may permit institutional investors to submit purchase orders for shares through
    various other electronic methods as well, if approved by Client Account Management.

    Wire Redemption Proceeds from Money Market Funds
    All money market funds except the Government Money and U.S. Treasury Money Funds:
    Normally, if you request a redemption on a business day prior to 12 p.m. ET and request to have
    proceeds sent via bank wire, proceeds are normally sent later that same day.

    Government Money and U.S. Treasury Money Funds: If you request a redemption on a business
    day prior to the time at which the fund calculates its daily share price (normally 5 p.m. ET) and
    request to have proceeds sent via bank wire, proceeds are normally sent later that same day.

    All money market funds: Under certain unusual circumstances (such as unusual market
    conditions or in cases of very large redemptions), redemption proceeds may be sent via wire the
    next business day following receipt of a wire transfer redemption request in correct form.
    Redemption proceeds sent via wire may be postponed or suspended for longer than one day
    only for periods during which there is a non-routine closure of the Federal Reserve wire payment
    system or applicable Federal Reserve Banks or as permitted under those circumstances
    specifically enumerated under the 1940 Act and the relevant rules thereunder. For more
    information, please reference “Delays in Sending Redemption Proceeds.”

    Certain retirement accounts that are held directly with T. Rowe Price are not eligible for same
    day redemption proceeds. Contact T. Rowe Price for more information.

    Checkwriting You may write an unlimited number of free checks on any money market fund
    and certain bond funds, with a minimum of $500 per check. Keep in mind, however, that a check
    results in a sale of fund shares; a check written on a bond fund will create a taxable event that
    must be reported by T. Rowe Price to the Internal Revenue Service as a redemption.
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     Converting to Another Share Class
     You may convert from one share class of a fund to another share class of the same fund (which
     may have a different expense ratio) over the telephone or in writing. Although the conversion has
     no effect on the dollar value of your investment in the fund, the number of shares owned after the
     conversion may be greater or less than the number of shares owned before the conversion,
     depending on the net asset values of the two share classes. A conversion between share
     classes of the same fund is a nontaxable event. The new account will have the same registration
     as the account from which you are converting.

     Shareholders may contact T. Rowe Price at any time to convert eligible account balances to the
     I Class. In addition, T. Rowe Price may conduct periodic reviews of account balances. If your
     account balance in a fund meets or exceeds the applicable minimum amount required for the
     I Class, T. Rowe Price may, but is not required to, automatically convert your Investor Class
     shares to I Class shares of the same fund with advance notice, which may be in writing or
     delivered electronically if you have a valid email address on file with T. Rowe Price. Certain
     account restrictions will prevent an automatic conversion. If you opt out of any automatic
     conversions to the I Class, your election will apply to any future periodic reviews and automatic
     conversions for which you may otherwise be eligible unless you contact T. Rowe Price to change
     your election. If T. Rowe Price or its affiliates have investment discretion for your account,
     T. Rowe Price may convert your shares to a different share class without any advance notice to
     you. Automatic conversions only occur between share classes of the same fund.

     Note: The fund may permit institutional investors to submit purchase orders for shares through
     various other electronic methods as well, if approved by Client Account Management.

     Maintaining Your Account Balance
     Investor Class Due to the relatively high cost to a fund of maintaining small accounts, we ask
     that you maintain an account balance of at least $1,000 ($10,000 for Summit Funds). If, for any
     reason, your balance is below this amount for three months or longer (even if due to market
     depreciation), we have the right to redeem your account at the then-current net asset value after
     giving you 60 days’ advance notice to increase your balance.

     I Class To keep operating expenses lower, we ask that you maintain an account balance that at
     least meets the applicable I Class minimum necessary to open an account. If your investment in
     a fund falls below the applicable I Class minimum (even if due to market depreciation), we have
     the right to convert your account to a different share class in the same fund (if available) with a
     higher expense ratio or redeem your account at the then-current net asset value, after giving you
     60 days’ advance notice to increase your balance. The redemption of your account by T. Rowe
     Price could result in a taxable gain or loss. However, if T. Rowe Price or its affiliates have
     investment discretion for your account, T. Rowe Price may convert your shares to a different
     share class without advance notice. Shareholders investing in a fund as part of a program that
     allows for a lower initial investment minimum will be subject to the applicable minimum account
     balance requirements of the respective program.

     The redemption of your account could result in a taxable gain or loss.
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    Investors holding the fund through the T. Rowe Price® ActivePlus Portfolios program will be
    subject to the minimum account balance requirements of the program, which may differ from the
    minimum account balance requirements listed above.

    Eligibility Through Certain T. Rowe Price Programs
    Direct investors with qualifying accounts may be eligible to invest in the I Class with a lower initial
    investment minimum and may be eligible to open new accounts in funds that are generally
    closed to new investors. For certain programs, eligibility is based on the aggregate value of
    qualifying accounts and certain other accounts held by direct investors in the same household.
    The terms and conditions of the respective program will apply and are subject to change. Contact
    T. Rowe Price for more information.



    INVESTING THROUGH A FINANCIAL INTERMEDIARY


    The following policies apply to accounts that are held through a financial intermediary.

    Accounts in Investor Class and I Class shares are not required to be held through a financial
    intermediary, but accounts in Advisor Class and R Class shares must be held through an eligible
    financial intermediary (except for certain retirement plans held directly with T. Rowe Price). It is
    important that you contact your retirement plan or financial intermediary to determine the policies,
    procedures, and transaction deadlines that apply to your account. The financial intermediary may
    charge a fee, such as transaction fees or brokerage commissions, for its services.

    Opening an Account
    The financial intermediary must provide T. Rowe Price with its certified taxpayer identification
    number. Financial intermediaries should call Client Account Management for an account number
    and wire transfer instructions. In order to obtain an account number, the financial intermediary
    must supply the name, certified taxpayer identification number, and business street address for
    the account. (Please refer to “Contacting T. Rowe Price” later in this section for the appropriate
    telephone number and mailing address.) Financial intermediaries must also enter into a separate
    agreement with the fund or its agent.

    How the Trade Date Is Determined
    If you invest through a financial intermediary and your transaction request is received by the fund
    or its agent in correct form by the fund’s applicable daily share price calculation time, your
    transaction will be priced at that business day’s net asset value. If your request is received by the
    fund or its agent in correct form after the fund’s applicable daily share price calculation time, your
    transaction will be priced at the next business day’s net asset value unless the fund has an
    agreement with your financial intermediary for orders to be priced at the net asset value next
    computed after receipt by the financial intermediary. Shareholders investing through an
    intermediary are subject to their financial intermediary’s account restrictions and requirements.
    For example, certain financial intermediaries may have an order cutoff time that differs from the
    time at which the fund calculates its daily share price (i.e., the fund’s order cutoff time), which
    may require all transactions to be placed by the close of the NYSE (normally 4 p.m. ET),
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     regardless of what time a fund closes. You should contact your financial intermediary or
     retirement plan recordkeeper for more information.

     The funds have authorized certain financial intermediaries or their designees to accept orders to
     buy or sell fund shares on their behalf. When authorized financial intermediaries receive an order
     in correct form, the order is considered as being placed with the fund and shares will be bought
     or sold at the net asset value next calculated after the order is received by the authorized
     financial intermediary. The financial intermediary must transmit the order to the fund or the fund’s
     agent and pay for such shares in accordance with the agreement with the fund, or the order may
     be canceled and the financial intermediary could be held liable for the losses. If the fund does not
     have such an agreement in place with your financial intermediary, the fund or its agent must
     receive the request in correct form from your financial intermediary by the close of the NYSE in
     order for your transaction to be priced at that business day’s net asset value. You should contact
     your financial intermediary to learn whether it is authorized to accept orders on behalf of the fund.

     Note: The time at which transactions and shares are priced and the time until which orders are
     accepted by the fund or a financial intermediary may be changed in case of an emergency or if
     the NYSE closes at a time other than 4 p.m. ET. The funds reserve the right to not treat an
     unscheduled intraday disruption or closure in NYSE trading as a closure of the NYSE and still
     accept transactions and calculate their net asset value as the fund’s regularly scheduled closing
     time. Should this occur, your order must still be placed and received in correct form by the fund
     or its agent (or by the financial intermediary in accordance with its agreement with T. Rowe
     Price) prior to the fund’s daily share price calculation time to be priced at that business day’s net
     asset value.

     The funds’ daily share price calculation times are detailed under the heading “How and When
     Shares are Priced.”

     Purchasing Shares
     All initial and subsequent investments by financial intermediaries should be made by bank wire or
     electronic payment. There is no assurance that the share price for the purchase will be the same
     day the wire was initiated. Purchases by financial intermediaries are typically initiated through the
     National Securities Clearing Corporation or by calling Client Account Management. The fund may
     permit financial intermediaries to submit purchase orders for shares through various other
     methods as well, if approved by Client Account Management.

     Investment Minimums
     You should check with your financial intermediary to determine what minimum applies to your
     initial and additional investments.

     The Summit Funds require a $25,000 minimum initial investment, and other funds generally
     require a $2,500 minimum initial investment, although the minimum is generally waived or
     modified for any retirement plans and financial intermediaries establishing accounts in the
     Investor Class, Advisor Class, or R Class. I Class accounts require a $500,000 minimum initial
     investment per fund for each account registration, although the minimum is generally waived for
     certain accounts.
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    Investments through a financial intermediary generally do not require a minimum amount for
    additional purchases.

    Redeeming Shares
    Unless otherwise indicated, redemption proceeds will be sent via bank wire to the financial
    intermediary’s designated bank. Redemptions by financial intermediaries are typically initiated
    through the National Securities Clearing Corporation or by calling Client Account Management.
    The fund may permit financial intermediaries to submit redemption orders for shares through
    various other methods as well, if approved by Client Account Management. Normally, the fund
    transmits proceeds to financial intermediaries for redemption orders received in correct form on
    either the next business day or second business day after receipt of the order, depending on the
    arrangement with the financial intermediary. Shareholders investing through a financial
    intermediary are subject to their financial intermediary’s account restrictions and requirements.
    For example, certain financial intermediaries (including many retirement plans) may have an
    order cutoff time that differs from the time at which the fund calculates its daily share price. You
    should contact your financial intermediary for more information.

    Please note that certain purchase and redemption requests initiated through the National
    Securities Clearing Corporation may be rejected, and in such instances, the transaction must be
    placed by contacting Client Account Management.



    GENERAL POLICIES RELATING TO TRANSACTIONS


    The following policies and requirements apply generally to accounts in the T. Rowe Price
    Funds, regardless of whether the account is held directly or indirectly with T. Rowe Price.

    The funds generally do not accept orders that request a particular day or price for a transaction
    or any other special conditions. However, when authorized by the fund, certain institutions,
    financial intermediaries, or retirement plans purchasing fund shares directly with T. Rowe Price
    may place a purchase order unaccompanied by payment. Payment for these shares must be
    received by the time designated by the fund (not to exceed the period established for settlement
    under applicable regulations). If payment is not received by this time, the order may be canceled.
    The institution, financial intermediary, or retirement plan is responsible for any costs or losses
    incurred by the fund, T. Rowe Price or its agent, or a T. Rowe Price affiliate if payment is delayed
    or not received.

    U.S. Dollars All purchases must be paid for in U.S. dollars; checks must be drawn on U.S.
    banks. In addition, we request that you give us at least three business days’ notice for any
    purchase of $1 million or more.

    Nonpayment If a check or Automated Clearing House transfer does not clear or payment for an
    order is not received in a timely manner, your purchase may be canceled. You (or the financial
    intermediary) may be responsible for any losses or expenses incurred by the fund or its agent,
    and the fund can redeem shares in your account or another identically registered T. Rowe Price
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     account as reimbursement. The funds and their agents have the right to reject or cancel any
     purchase, exchange, or redemption due to nonpayment.

     Liquidity Fees—Retail Money Market Funds A money market fund that operates as a retail
     money market fund pursuant to Rule 2a-7 under the Investment Company Act of 1940 has the
     ability to impose liquidity fees of up to 2% of the value of the shares redeemed if the Board (or its
     delegate) determines that doing so is in the best interests of the fund.

     If a liquidity fee is in place, all exchanges out of the fund will be subject to the liquidity fee. When
     a liquidity fee is in place, the fund may elect to not permit the purchase of shares or to subject the
     purchase of shares to certain conditions, which may include affirmation of the purchaser’s
     knowledge that a liquidity fee is in effect.

     Omnibus Accounts If your shares are held through a financial intermediary, T. Rowe Price may
     rely on the financial intermediary to assess any applicable liquidity fees on underlying
     shareholder accounts. In certain situations, T. Rowe Price enters into agreements with financial
     intermediaries maintaining omnibus accounts that require the financial intermediary to assess
     liquidity fees. There are no assurances that T. Rowe Price will be successful in ensuring that all
     financial intermediaries will properly assess the fees.

     Please refer to Sections 1 and 2 of the retail money market fund prospectuses for more
     information regarding liquidity fees.

     Meeting Redemption Requests It is expected that the funds will typically hold sufficient cash or
     cash equivalents to meet redemption requests, although a fund may also use the proceeds from
     the sale of portfolio securities to meet redemption requests if consistent with the management of
     the fund. Funds-of-funds, however, are expected to typically sell shares of their underlying funds
     in order to meet redemption requests, although a fund-of-funds may at times hold sufficient cash
     or cash equivalents to meet redemption requests. These redemption methods will be used
     regularly and may also be used in deteriorating or stressed market conditions. The funds reserve
     the right to pay redemption proceeds with securities from the fund’s portfolio rather than in cash
     (redemptions in-kind), as described under “Large Redemptions.” Redemptions in-kind may be
     used regularly in circumstances as described above (generally if the shareholder is able to
     accept securities in-kind) and may also be used in stressed market conditions.

     The funds may rely on an interfund lending exemptive order received from the SEC that permits
     the T. Rowe Price Funds to borrow money from and/or lend money to other T. Rowe Price Funds
     to help the funds meet short-term redemptions and liquidity needs. In addition, certain funds have
     a revolving line of credit in place to help meet short-term redemptions and liquidity needs, if
     necessary.

     During periods of deteriorating or stressed market conditions, when an increased portion of a
     fund’s portfolio may be composed of holdings with reduced liquidity or lengthy settlement
     periods, or during extraordinary or emergency circumstances, the fund may be more likely to pay
     redemption proceeds with cash obtained through interfund lending or short-term borrowing
     arrangements (if available) or by redeeming a large redemption request in-kind.
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    Large Redemptions Large redemptions (for example, $250,000 or more) can adversely affect a
    portfolio manager’s ability to implement a fund’s investment strategy by causing the premature
    sale of securities that would otherwise be held longer. Therefore, if, during any 90-day period, a
    shareholder redeems fund shares worth more than $250,000 (or 1% of the value of a fund’s
    assets if that amount is less than $250,000), we reserve the right to pay part or all of the
    redemption proceeds in excess of this amount in readily marketable securities instead of in cash.
    Although the fund normally intends to pay redemption proceeds solely in cash, in consideration
    of the best interests of the remaining shareholders, the fund reserves the right (without prior
    notice) to pay any redemption proceeds exceeding this amount in whole or in part by a
    distribution in kind of securities held by a fund. This in-kind distribution may be in the form of a
    pro-rata slice of the fund’s portfolio (potentially with certain exclusions and modifications). We will
    value these securities in the same manner as we do in computing the fund’s net asset value. The
    redeeming shareholder will be responsible for disposing of the securities, and the shareholder
    will be subject to the risks that the value of the securities could decline prior to their sale, the
    securities could be difficult to sell, and brokerage fees could be incurred. If you continue to hold
    the securities, you may be subject to any ownership restrictions imposed by the issuers. For
    example, real estate investment trusts (REITs) often impose ownership restrictions on their
    equity securities. In addition, we request that you give us at least three business days’ notice for
    any redemption of $1 million or more.

    Delays in Sending Redemption Proceeds
    The T. Rowe Price Funds typically expect that redemption requests will be paid out to redeeming
    shareholders by the business day following the receipt of a redemption request that is in correct
    form, regardless of the method the fund uses to make such payment (for example, check, wire,
    or Automated Clearing House transfer). Checks are typically mailed on the business day after the
    redemption, proceeds sent by wire are typically credited to your financial institution the business
    day after the redemption, and proceeds sent by Automated Clearing House are typically credited
    to your financial institution on the second business day after the redemption. However, under
    certain circumstances, and when deemed to be in a fund’s best interests, proceeds may not be
    sent for up to seven calendar days after receipt of a valid redemption order (for example, during
    periods of deteriorating or stressed market conditions or during extraordinary or emergency
    circumstances).

    In addition, if shares are sold that were just purchased and paid for by check or Automated
    Clearing House transfer, the fund will process your redemption but will generally delay sending
    the proceeds for up to seven calendar days to allow the check or Automated Clearing House
    transfer to clear. If, during the clearing period, we receive a check drawn against your newly
    purchased shares, it will be returned and marked “uncollected.” (The seven-day hold does not
    apply to purchases paid for by bank wire or automatic purchases through payroll deduction.)

    Under certain limited circumstances, the Board of a money market fund may elect to permanently
    suspend redemptions in order to facilitate an orderly liquidation of the fund (subject to any
    additional liquidation requirements).
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     Involuntary Redemptions and Share Class Conversions
     Since nongovernment money market funds that operate as retail money market funds are
     required to limit their beneficial owners to natural persons, shares held directly by an investor or
     through a financial intermediary in these funds that are not eligible to invest in a retail money
     market fund are subject to involuntary redemption at any time without prior notice.

     Shares held by any investors or financial intermediaries that are no longer eligible to invest in the
     I Class or who fail to meet or maintain their account(s) at the investment minimum are subject to
     involuntary redemption or conversion to the Investor Class of the same fund (which may have a
     higher expense ratio). Investments in Advisor Class shares that are no longer held through an
     eligible financial intermediary may be automatically converted by T. Rowe Price to the Investor
     Class of the same fund following notice to the financial intermediary or shareholder. Investments
     in R Class shares that are no longer held on behalf of an employer-sponsored defined
     contribution retirement plan or other eligible R Class account or that are not held through an
     eligible financial intermediary may be automatically converted by T. Rowe Price to the Investor
     Class or Advisor Class of the same fund following notice to the financial intermediary or
     shareholder.

     Excessive and Short-Term Trading Policy
     Excessive transactions and short-term trading can be harmful to fund shareholders in various
     ways, such as disrupting a fund’s portfolio management strategies, increasing a fund’s trading
     and other costs, and negatively affecting its performance. Short-term traders in funds that invest
     in foreign securities may seek to take advantage of developments overseas that could lead to an
     anticipated difference between the price of the funds’ shares and price movements in foreign
     markets. While there is no assurance that T. Rowe Price can prevent all excessive and short-
     term trading, the Boards of the T. Rowe Price Funds have adopted the following trading limits
     that are designed to deter such activity and protect the funds’ shareholders. The funds may
     revise their trading limits and procedures at any time as the Boards deem necessary or
     appropriate to better detect short-term trading that may adversely affect the funds, to comply with
     applicable regulatory requirements, or to impose additional or alternative restrictions.

     Subject to certain exceptions, each T. Rowe Price Fund restricts a shareholder’s purchases
     (including through exchanges) into a fund account for a period of 30 calendar days after the
     shareholder has redeemed or exchanged out of that same fund account (30-Day Purchase
     Block). The calendar day after the date of redemption is considered Day 1 for purposes of
     computing the period before another purchase may be made.

     General Exceptions As of the date of this prospectus, the following types of transactions
     generally are not subject to the funds’ Excessive and Short-Term Trading Policy:

     • Shares purchased or redeemed in money market funds and ultra short-term bond funds;
     • Shares purchased or redeemed through a systematic purchase or withdrawal plan;
     • Checkwriting redemptions from bond funds and money market funds;
     • Shares purchased through the reinvestment of dividends or capital gain distributions;
     • Shares redeemed automatically by a fund to pay fund fees or shareholder account fees;
     • Transfers and changes of account registration within the same fund;
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    • Shares purchased by asset transfer or direct rollover;
    • Shares purchased or redeemed through IRA conversions and recharacterizations;
    • Shares redeemed to return an excess contribution from a retirement account;
    • Transactions in Section 529 college savings plans;
    • Certain transactions in defined benefit and nonqualified plans, subject to prior approval by
      T. Rowe Price;
    • Shares converted from one share class to another share class in the same fund;
    • Shares of T. Rowe Price Funds that are purchased by another T. Rowe Price Fund, including
      shares purchased by T. Rowe Price fund-of-funds products, and shares purchased by
      discretionary accounts managed by T. Rowe Price or one of its affiliates (please note that
      shareholders of the investing T. Rowe Price Fund are still subject to the policy);
    • Transactions initiated by the trustee or adviser to a donor-advised charitable gift fund as
      approved by T. Rowe Price;
    • Transactions having a value of $5,000 or less (retirement plans, including those for which
      T. Rowe Price Retirement Plan Services, Inc., serves as recordkeeper, and other financial
      intermediaries may apply the Excessive and Short-Term Trading Policy to transactions of any
      amount); and
    • Certain shares purchased or redeemed in exchange for securities and cash (transactions in-
      kind), subject to prior approval by T. Rowe Price.

    Transactions in certain rebalancing, asset allocation, wrap, and other advisory programs, as well
    as non-T. Rowe Price fund-of-funds products, may also be exempt from the 30-Day Purchase
    Block, subject to prior written approval by T. Rowe Price.

    In addition to restricting transactions in accordance with the 30-Day Purchase Block, T. Rowe
    Price may, in its discretion, reject (or instruct a financial intermediary to reject) any purchase or
    exchange into a fund from a person (which includes individuals and entities) whose trading
    activity could disrupt the management of the fund or dilute the value of the fund’s shares,
    including trading by persons acting collectively (for example, following the advice of a newsletter,
    blogger, or social media platform). Such persons may be barred, without prior notice, from further
    purchases of T. Rowe Price Funds for a period longer than 30 calendar days, or permanently.

    Financial Intermediary and Retirement Plan Accounts If you invest in T. Rowe Price Funds
    through a financial intermediary, including a retirement plan, you should review the financial
    intermediary’s or retirement plan’s materials carefully or consult with the financial intermediary or
    plan sponsor directly to determine the trading policy that will apply to your trades in the T. Rowe
    Price Funds as well as any other rules or conditions on transactions that may apply. If T. Rowe
    Price is unable to identify a transaction placed through a financial intermediary as exempt from
    the excessive trading policy, the 30-Day Purchase Block may apply.

    Financial intermediaries, including retirement plans, may maintain their underlying accounts
    directly with the fund, although they often establish an omnibus account (one account with the
    fund that represents multiple underlying shareholder accounts) on behalf of their customers.
    When financial intermediaries establish omnibus accounts in the T. Rowe Price Funds, T. Rowe
    Price is not able to monitor the trading activity of the underlying shareholders. However, T. Rowe
    Price monitors aggregate trading activity at the financial intermediary (omnibus account) level in
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     an attempt to identify activity that indicates potential excessive or short-term trading. If it detects
     suspicious trading activity, T. Rowe Price may contact the financial intermediary to request
     personal identifying information and transaction histories for some or all underlying shareholders
     (including plan participants, if applicable) pursuant to a written agreement that T. Rowe Price has
     entered into with each financial intermediary. Any nonpublic personal information provided to the
     fund (for example, a shareholder’s taxpayer identification number or transaction records) is
     subject to the fund’s privacy policy. If T. Rowe Price believes that excessive or short-term trading
     has occurred and there is no exception for such trades under the funds’ Excessive and Short-
     Term Trading Policy as previously described, it will instruct the financial intermediary to impose
     restrictions to discourage such practices and take appropriate action with respect to the
     underlying shareholder, including restricting purchases for 30 calendar days or longer. Each
     financial intermediary has agreed to execute such instructions pursuant to a written agreement.
     There is no assurance that T. Rowe Price will be able to properly enforce its Excessive and
     Short-Term Trading Policy for omnibus accounts. Because T. Rowe Price generally relies on
     financial intermediaries to provide information and impose restrictions for omnibus accounts, its
     ability to monitor and deter excessive trading will be dependent upon the financial intermediaries’
     timely performance of their responsibilities.

     For shares that are held in a retirement plan, generally the 30-Day Purchase Block applies only
     to shares redeemed by a participant-directed exchange to another fund. However, the 30-Day
     Purchase Block may apply to transactions other than exchanges depending on how shares of the
     plan are held at T. Rowe Price or the excessive trading policy applied by your plan’s
     recordkeeper.

     T. Rowe Price may allow a financial intermediary, including a retirement plan, to maintain
     restrictions on trading in the T. Rowe Price Funds that differ from the 30-Day Purchase Block. An
     alternative excessive trading policy would be acceptable to T. Rowe Price if it believes that the
     policy would provide sufficient protection to the T. Rowe Price Funds and their shareholders that
     is consistent with the excessive trading policy adopted by the funds’ Boards.

     There is no guarantee that T. Rowe Price will be able to identify or prevent all excessive or
     short-term trades or trading practices.

     Unclaimed Accounts and Uncashed Checks
     If your account has no activity for a certain period of time and/or mail sent to you from T. Rowe
     Price (or your financial intermediary) is deemed undeliverable, T. Rowe Price (or your financial
     intermediary) may be required to transfer (i.e., escheat) your account assets, including any
     assets related to uncashed checks, to the appropriate state under its abandoned property laws.
     For IRAs escheated to a state under these abandoned property laws, the escheatment will be
     treated as a taxable distribution to you and federal and any applicable state income tax will be
     withheld. This may also apply to your Roth IRA (see the T. Rowe Price Traditional and Roth IRA
     Disclosure Statement and Custodial Agreement and/or the T. Rowe Price SIMPLE IRA Summary
     & Agreement for more information). To avoid such action, it is important to keep your account
     address up to date and periodically communicate with T. Rowe Price by contacting us or logging
     in to your account at least once every two years.
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    Delivery of Shareholder Documents
    If two or more accounts own the same fund, share the same address, and T. Rowe Price
    reasonably believes that the two accounts are part of the same household or institution, we may
    economize on fund expenses by mailing only one shareholder report and summary prospectus or
    prospectus, as applicable, for the fund. If you need additional copies or do not want your mailings
    to be “householded,” please call Shareholder Services.

    T. Rowe Price can deliver account statements, transaction confirmations, prospectuses/summary
    prospectuses, proxy materials, and shareholder reports electronically. If you are a registered
    user of troweprice.com, you can consent to the electronic delivery of these documents by logging
    in and changing your mailing preferences. You can revoke your consent at any time through
    troweprice.com, and we will begin to send paper copies of these documents within a reasonable
    time after receiving your revocation.

    Signature Guarantees
    A Medallion signature guarantee is designed to protect you and the T. Rowe Price Funds
    from fraud by verifying your signature.

    A shareholder or financial intermediary may be required to obtain a Medallion signature
    guarantee in certain situations, such as:

    • Requests to wire redemption proceeds when bank account information is not already
      authorized and on file for an account;
    • Remitting redemption proceeds to any person, address, or bank account not on file;
    • Establishing certain services after an account is opened; or
    • Changing the account registration or broker-dealer of record for an account.

    Financial intermediaries should contact T. Rowe Price Client Account Management for specific
    requirements.

    The signature guarantee must be obtained from a financial institution that is a participant in a
    Medallion signature guarantee program. You can obtain a Medallion signature guarantee from
    certain banks, savings institutions, broker-dealers, and other guarantors acceptable to T. Rowe
    Price. When obtaining a Medallion signature guarantee, please discuss with the guarantor the
    dollar amount of your proposed transaction. It is important that the level of coverage provided by
    the guarantor’s stamp covers the dollar amount of the transaction or it may be rejected. We
    cannot accept guarantees from notaries public or organizations that do not provide
    reimbursement in the case of fraud.

    Fund Operations and Shareholder Services
    T. Rowe Price and The Bank of New York Mellon, subject to the oversight of T. Rowe Price, each
    provide certain accounting services to the T. Rowe Price Funds. T. Rowe Price Services, Inc.,
    acts as the transfer agent and dividend disbursing agent and provides shareholder and
    administrative services to the funds. T. Rowe Price Retirement Plan Services, Inc., provides
    recordkeeping, sub-transfer agency, and administrative services for certain types of retirement
    plans investing in the funds. These companies receive compensation from the funds for their
    services. The funds may also pay financial intermediaries for performing shareholder and
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     administrative services for underlying shareholders in omnibus accounts. In addition, certain
     funds serve as an underlying fund in which some fund-of-funds products, the T. Rowe Price
     Spectrum and Retirement Funds, invest. Subject to approval by each applicable fund’s Board,
     each underlying fund bears its proportionate share of the direct operating expenses of the
     T. Rowe Price Spectrum and Retirement Funds. All of the fees previously discussed are included
     in a fund’s financial statements and, except for funds that pay an annual all-inclusive fee, are
     also reflected in the “Other expenses” line that appears in the table titled “Fees and Expenses of
     the Fund” in Section 1 of this prospectus.



     CONTACTING T. ROWE PRICE


     If you hold shares of a fund through a financial intermediary, you must contact your financial
     intermediary to determine the requirements for opening a new account and placing transactions.
     Otherwise, please contact T. Rowe Price as follows:

     Web

     troweprice.com                   For the most complete source of T. Rowe Price news
                                      To open an account
                                      For most account transactions

     troweprice.com/paperless         To sign up for e-delivery of your account statements,
                                      transaction confirmations, prospectuses/summary
                                      prospectuses, proxy materials, and shareholder reports

     Phone
     Shareholder Services:            To make a transaction or for fund, account, and service
     1-800-225-5132                   information (for IRAs and nonretirement accounts)

     Investor Services:               To open an account (for IRAs and nonretirement accounts)
     1-800-638-5660

     Client Account Management:       For information and services for large institutional investors and
     1-800-638-8790                   financial intermediaries

     Retirement Client Services:      For information and services for small business retirement plans
     1-800-492-7670                   (or consult your plan administrator)

     Summit Program:                  Complimentary services and resources designed to help
     1-800-332-6161                   investors make informed investment decisions
                                      Tiered client benefits based on asset level

     Brokerage:                       If you hold your shares through a T. Rowe Price Brokerage
     1-800-225-7720                   account

     Tele*Access®:                    To access information on fund performance, prices, account
     1-800-638-2587                   balances, and your latest transactions 24 hours a day
                                      Please note that transactions cannot be placed through
                                      Tele*Access®

     Hearing Impaired                 Call the applicable number with a relay operator; inquiries may
                                      also be directed to info@troweprice.com
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    T. Rowe Price Addresses
    Please be sure to use the correct address to avoid a delay in opening your account or processing
    your transaction. These addresses are subject to change at any time, so please check
    troweprice.com/contactus or call the appropriate telephone number to ensure that you use the
    correct mailing address.

    Investors (IRAs and nonretirement accounts) opening a new account or making additional
    purchases by check should use the following addresses:

      via U.S. mail                                      via private carriers/overnight services
      T. Rowe Price Account Services                     T. Rowe Price Account Services
      P.O. Box 17300                                     Mail Code 17300
      Baltimore, MD 21297-1300                           4515 Painters Mill Road
                                                         Owings Mills, MD 21117-4903

    Investors (IRAs and nonretirement accounts) requesting an exchange or redemption should use
    the following addresses:

      via U.S. mail                                      via private carriers/overnight services
      T. Rowe Price Account Services                     T. Rowe Price Account Services
      P.O. Box 17468                                     Mail Code 17468
      Baltimore, MD 21298-8275                           4515 Painters Mill Road
                                                         Owings Mills, MD 21117-4903

    Investors in a small business retirement plan opening a new account, making a purchase by
    check, or placing an exchange or redemption should use the following addresses:

      via U.S. mail                                      via private carriers/overnight services
      T. Rowe Price Retirement Client Services           T. Rowe Price
      P.O. Box 17350                                     Attn.: Retirement Operations
      Baltimore, MD 21297-1350                           4515 Painters Mill Road
                                                         Owings Mills, MD 21117-4903

    Institutional investors (including financial intermediaries) opening a new account, making a
    purchase by check, or placing an exchange or redemption should use the following addresses:

      via U.S. mail                                      via private carriers/overnight services
      T. Rowe Price Client Account Management            T. Rowe Price Client Account Management
      P.O. Box 17300                                     Mail Code: OM-1320
      Baltimore, MD 21297-1603                           4515 Painters Mill Road
                                                         Owings Mills, MD 21117-4842

    Note: Your transaction will receive the share price for the business day that the request is
    received in correct form by T. Rowe Price or its agent prior to the time at which the fund
    calculates its daily share price, which could differ from the day that the request is received at the
    post office box.
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     INFORMATION ON DISTRIBUTIONS AND TAXES


     Each fund intends to qualify to be treated each year as a regulated investment company under
     Subchapter M of the Internal Revenue Code of 1986, as amended. In order to qualify, a fund
     must satisfy certain income, diversification, and distribution requirements. A regulated investment
     company is not subject to U.S. federal income tax at the portfolio level on income and gains from
     investments that are distributed to shareholders. However, if a fund were to fail to qualify as a
     regulated investment company and were ineligible to or otherwise did not cure such failure, the
     result would be fund-level taxation and, consequently, a reduction in income available for
     distribution to the fund’s shareholders.

     To the extent possible, all net investment income and realized capital gains are distributed
     to shareholders. Generally, your share of the distributions is based on the number of
     shares of the fund outstanding on the applicable dividend record date. Therefore, if the
     fund has experienced a net redemption during the taxable period, your share of the
     distribution that is declared less frequently than daily may be relatively higher due to the
     smaller number of shares outstanding on the record date. See also “Taxes on Fund
     Distributions” below.

     Dividends and Other Distributions
     Except for the Retirement Income Funds, dividend and capital gain distributions are reinvested in
     additional fund shares in your account unless you select another option on your new account
     form. For the Retirement Income Funds, subject to certain exceptions, regularly scheduled
     monthly dividends may generally not be reinvested. Reinvesting distributions results in
     compounding, which allows you to receive dividends and capital gain distributions on an
     increasing number of shares.

     Distributions not reinvested may be paid by check or transmitted to your bank account via
     Automated Clearing House or may be automatically invested into another fund account. For the
     Retirement Income Funds, regularly scheduled monthly dividends are generally not paid by
     check. If the U.S. Postal Service cannot deliver your check or if your check remains uncashed for
     six months, the fund reserves the right to reinvest your distribution check in your account at the
     net asset value on the day of the reinvestment and to reinvest all subsequent distributions in
     additional shares of the fund. Interest will not accrue on amounts represented by uncashed
     distributions or redemption checks.
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    The following table provides details on dividend accrual eligibility and payments. The information
    set forth in this table applies only to regular business days when the NYSE is open and closes at
    its regularly scheduled closing time (normally 4 p.m. ET).

                         Dividend Accrual Eligibility and Payment Schedule
    Fund
    All money market funds except           Purchases:
    Government Money and U.S.               • If a purchase order is received by the fund on a
    Treasury Money Funds
                                              business day by 12 p.m. ET and the payment funding
                                              the order is instantaneously available (for example,
                                              most wires) that is received by the fund by 12 p.m. ET,
                                              then dividends will begin to accrue on the same
                                              business day that the wire purchase order is received.
                                            • Shares purchased via instantaneously available
                                              money (for example, most wires) that do not meet the
                                              deadline specified above, and shares purchased via
                                              any other method (for example, via check or ACH)
                                              normally begin to earn dividends on the business day
                                              after payment is received by the fund.


                                            Redemptions:
                                            • If redemption proceeds are sent on the same day that
                                              the redemption order is placed (for example, most wire
                                              transaction), those shares will receive dividends
                                              through the calendar day prior to the date of
                                              redemption.
                                              If redemption proceeds are sent on the next business
                                              day after an order is placed (for example, redemption
                                              orders via ACH or check), those shares will be entitled
                                              to dividends through the day that the redemption order
                                              was placed (the trade date).
                                            • Dividends, if any, are declared daily and paid on the
                                              first business day of each month.
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                       Dividend Accrual Eligibility and Payment Schedule
     Fund
     Government Money and U.S.          Purchases:
     Treasury Money Funds               • If a purchase order is received on a business day by
                                         5 p.m. ET and the payment funding the order is
                                         instantaneously available (for example, most wires)
                                         that is received by the fund prior to the time at which
                                         the fund calculates its daily share price (normally, by
                                         5 p.m. ET, then dividends will begin to accrue on the
                                         same business day that the wire purchase order is
                                         received.
                                        • Shares purchased via instantaneously available
                                         money (for example, most wires) that do not meet the
                                         deadlines specified above, and shares purchased via
                                         any other method (for example, via check or ACH)
                                         normally begin to earn dividends on the business day
                                         after payment is received by the fund.


                                        Redemptions:
                                        • If redemption proceeds are sent by the fund on the
                                         same day that the redemption order is placed (for
                                         example, most wire transactions), those shares will
                                         receive dividends through the calendar day prior to the
                                         date of redemption.
                                        • If redemption proceeds are sent on the next business
                                         day after an order is placed (for example, redemption
                                         orders via ACH or check), those shares will be entitled
                                         to dividends through the day that the redemption order
                                         was placed (the trade date).
                                        • Dividends, if any, are declared daily and paid on the
                                         first business day of each month.
     Bond funds, including Retirement   • Shares normally begin to earn any dividends on the
     Balanced and Spectrum Income        business day after payment is received by the fund or
     Funds
                                         its agent.
                                        • Dividends, if any, are declared daily and paid on the
                                         first business day of each month.
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                           Dividend Accrual Eligibility and Payment Schedule
    Fund
    These stock funds only:                   • Dividends, if any, are declared and paid quarterly, in
    • Balanced                                 March, June, September, and December.
    • Dividend Growth

    • Equity Income

    • Equity Index 500
    • Global Real Estate

    • Real Estate

    • Spectrum Conservative Allocation

    • Spectrum Moderate Allocation

    Capital Appreciation and Income           • Dividends are declared and normally paid in the
    and Retirement Income Funds                middle of each month.
    All other funds                           • Dividends, if any, are declared and paid annually,
                                               generally in December.
    All funds                                 • If necessary, a fund may make additional distributions
                                               on short notice to minimize any fund-level tax
                                               liabilities.
                                              • Must be a shareholder on the dividend record date.


    The deadlines described in the table above for wire transactions in money market funds are
    based on when the fund receives the money and are not based on the time at which a
    shareholder initiates a wire, or the time a financial intermediary receives the wire. Neither the
    funds nor T. Rowe Price assume any responsibility for the performance of your bank or financial
    intermediary in the wire process. If a problem with such performance arises, you should contact
    your bank or financial intermediary.

    In general, for funds other than money market funds, shares redeemed on a Friday or prior to a
    holiday will continue to earn dividends until the next business day. Generally, if you redeem all of
    your shares at any time during the month, you will also receive all dividends earned through the
    date of redemption in the same distribution. When you redeem only a portion of your shares, all
    dividends accrued on those shares will be reinvested, or paid in cash, on the next dividend
    payment date. The funds do not pay dividends in fractional cents. Any dividend amount earned
    for a particular day on all shares held that is one-half of one cent or greater (for example, $0.016)
    will be rounded up to the next whole cent (for example, $0.02), and any amount that is less than
    one-half of one cent (for example, $0.014) will be rounded down to the nearest whole cent (for
    example, $0.01). Please note that if the dividend payable on all shares held is less than one-half
    of one cent for a particular day, no dividend will be earned for that day.

    If you purchase and redeem your shares through a financial intermediary, consult your financial
    intermediary to determine when your shares begin and stop accruing dividends as the
    information previously described may vary.
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     Capital Gain Payments
     A capital gain or loss is the difference between the purchase and sale price of a security. If a
     fund has net capital gains for the year (after subtracting any capital losses), they are usually
     declared and paid in December to shareholders of record on a specified date that month. If a
     second distribution is necessary, it is generally paid the following year. A fund may have to make
     additional capital gain distributions, if necessary, to comply with the applicable tax law. Capital
     gains are not expected from money market funds since they are managed to maintain a stable
     share price. However, if a money market fund unexpectedly has net capital gains for the year
     (after subtracting any capital losses), the capital gain may be declared and paid in December to
     shareholders of record.

     Tax Information
     In most cases, you will be provided information for your tax filing needs no later than mid-
     February.

     If you invest in the fund through a tax-deferred account, such as an IRA or employer-sponsored
     retirement plan, you will not be subject to tax on dividends and distributions from the fund or the
     sale of fund shares if those amounts remain in the tax-deferred account. You may receive a
     Form 1099-R or other Internal Revenue Service forms, as applicable, if any portion of the
     account is distributed to you.

     If you invest in the fund through a taxable account, you generally will be subject to tax when:

     • You sell fund shares, including an exchange from one fund to another.
     • The fund makes dividend or capital gain distributions.

     Additional information about the taxation of dividends for certain T. Rowe Price Funds is listed
     below:

                                      Tax-Free and Municipal Funds
     • Regular monthly dividends (including those from the state-specific tax-free funds) are
       expected to be exempt from federal income taxes.
     • Exemption is not guaranteed since the fund has the right under certain conditions to invest in
       nonexempt securities.
     • Tax-exempt dividends paid to Social Security recipients may increase the portion of benefits
       that is subject to tax.
     • For state-specific funds, the monthly dividends you receive are generally expected to be
       exempt from state and local income tax of that particular state. For other funds, a small
       portion of your income dividend may be exempt from state and local income taxes.
     • If a fund invests in certain “private activity” bonds that are not exempt from the alternative
       minimum tax, shareholders who are subject to the alternative minimum tax must include
       income generated by those bonds in their alternative minimum tax calculation. The portion of
       a fund’s income dividend that should be included in your alternative minimum tax calculation,
       if any, will be reported to you by mid-February on Form 1099-DIV.
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    For individual shareholders, a portion of ordinary dividends representing “qualified dividend
    income” received by the fund may be subject to tax at the lower rates applicable to long-term
    capital gains rather than ordinary income. You may report it as qualified dividend income in
    computing your taxes, provided you have held the fund shares on which the dividend was paid
    for more than 60 days during the 121-day period beginning 60 days before the ex-dividend date.
    Ordinary dividends that do not qualify for this lower rate are generally taxable at the investor’s
    marginal income tax rate. This includes the portion of ordinary dividends derived from interest,
    short-term capital gains, income and gains from derivatives, distributions from nonqualified
    foreign corporations, distributions from real estate investment trusts, and dividends received by
    the fund from stocks that were on loan. For taxable years ending after December 31, 2017, and
    before January 1, 2026, you are generally allowed a deduction of up to 20% on your qualified
    REIT dividends. You may not take this deduction for a dividend on shares of a fund that have
    been held for less than 46 days during the 91-day period beginning on the date 45 days before
    the ex-dividend date. Little, if any, of the ordinary dividends paid by the bond funds or money
    market funds is expected to qualify for treatment as qualified dividend income or qualified REIT
    dividends.

    For corporate shareholders, a portion of ordinary dividends may be eligible for the deduction for
    dividends received by corporations to the extent the fund’s income consists of dividends paid by
    U.S. corporations. Little, if any, of the ordinary dividends paid by the international stock funds,
    bond funds, or money market funds is expected to qualify for this deduction. A fund that earns
    interest income may, in its discretion, designate all or a portion of ordinary dividends as Section
    163(j) interest dividends, which would allow the recipient to treat the designated portion of such
    dividends as interest income for purposes of determining interest expense deduction limitation
    under Section 163(j) of the Internal Revenue Code. Section 163(j) interest dividends, if so
    designated by a fund, will be reported to your financial intermediary or otherwise in accordance
    with the requirements specified by the Internal Revenue Service. To be eligible to treat a
    Section 163(j) interest dividend as interest income, you must have held the fund share for more
    than 180 days during the 361-day period beginning on the date which is 180 days before the
    date on which the share becomes ex-dividend with respect to such dividend. The holding period
    requirement does not apply to money market funds or funds that declare interest dividends on a
    daily basis in an amount equal to at least 90% of the fund’s excess Section 163(j) interest income
    and distribute such dividends on a monthly basis.

    A 3.8% net investment income tax is imposed on net investment income, including interest,
    dividends, and capital gains of U.S. individuals with income exceeding $200,000 (or $250,000 if
    married filing jointly) and of estates and trusts.

    If you hold your fund through a financial intermediary, the financial intermediary is responsible for
    providing you with any necessary tax forms. You should contact your financial intermediary for
    the tax information that will be sent to you and reported to the Internal Revenue Service.

    Taxes on Fund Redemptions
    When you sell shares in any fund, you may realize a gain or loss. An exchange from one fund to
    another fund in a taxable account is also a sale for tax purposes. As long as a money market
    fund maintains a stable share price of $1.00, a redemption or exchange to another fund will not
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     result in a gain or loss for tax purposes. However, an exchange from one fund into a money
     market fund may result in a gain or loss on the fund from which shares were redeemed.

     All or a portion of the loss realized from a sale or exchange of your fund shares may be
     disallowed under the “wash sale” rule if you purchase substantially identical shares within a
     61-day period beginning 30 days before and ending 30 days after the date on which the shares
     are sold or exchanged. Shares of the same fund you acquire through dividend reinvestment are
     shares purchased for the purpose of the wash sale rule and may trigger a disallowance of the
     loss for shares sold or exchanged within the 61-day period of the dividend reinvestment. Any loss
     disallowed under the wash sale rule is added to the cost basis of the purchased shares.

     T. Rowe Price (or your financial intermediary) will make available to you Form 1099-B, if
     applicable, no later than mid-February, providing certain information for each sale you made in
     the fund during the prior year. Unless otherwise indicated on your Form 1099-B, this information
     will also be reported to the Internal Revenue Service. For mutual fund shares acquired prior to
     2012 in most accounts established or opened by exchange in 1984 or later, our Form 1099-B will
     provide you with the gain or loss on the shares you sold during the year based on the average
     cost single category method. This information on average cost and gain or loss from sale is not
     reported to the Internal Revenue Service. For these mutual fund shares acquired prior to 2012,
     you may calculate the cost basis using other methods acceptable to the Internal Revenue
     Service, such as First In First Out, for example.

     For mutual fund shares acquired on or after January 1, 2012, federal income tax regulations
     require us to report the cost basis information on Form 1099-B using a cost basis method
     selected by the shareholder in compliance with such regulations or, in the absence of such
     selected method, our default method if you acquire your shares directly from T. Rowe Price. Our
     default method is average cost. For any fund shares acquired through a financial intermediary on
     or after January 1, 2012, you should check with your financial intermediary regarding the
     applicable cost basis method. You should note that the cost basis information reported to you
     may not always be the same as what you should report on your tax return because the rules
     applicable to the determination of cost basis on Form 1099-B may be different from the rules
     applicable to the determination of cost basis for reporting on your tax return. Therefore, you
     should save your transaction records to make sure the information reported on your tax return is
     accurate. T. Rowe Price and financial intermediaries are not required to issue a Form 1099-B to
     report sales of money market fund shares.

     To help you maintain accurate records, T. Rowe Price will make available to you a confirmation
     promptly following each transaction you make (except for systematic purchases and systematic
     redemptions) and a year-end statement detailing all of your transactions in each fund account
     during the year. If you hold your fund through a financial intermediary, the financial intermediary
     is responsible for providing you with transaction confirmations and statements.

     Taxes on Fund Distributions
     T. Rowe Price (or your financial intermediary) will make available to you, as applicable, generally
     no later than mid-February, a Form 1099-DIV, or other Internal Revenue Service forms, as
     required, indicating the tax status of any income dividends, dividends exempt from federal
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    income taxes, capital gain distributions made to you, and/or any return of capital. This
    information will be reported to the Internal Revenue Service. Taxable distributions are generally
    taxable to you in the year in which they are paid. A dividend declared in October, November, or
    December and paid in the following January is generally treated as taxable to you as if you
    received the distribution in December. Dividends from tax-free funds are generally expected to
    be tax-exempt for federal income tax purposes. Your bond fund and money market fund
    dividends for each calendar year will include dividends accrued up to the first business day of the
    next calendar year. Ordinary dividends and capital gain distributions may also be subject to state
    and local taxes. You will be sent any additional information you need to determine your taxes on
    fund distributions, such as the portion of your dividends, if any, that may be exempt from state
    and local income taxes.

    Taxable distributions are subject to tax, whether reinvested in additional shares or
    received in cash.

    The tax treatment of a capital gain distribution is determined by how long the fund held the
    portfolio securities, not how long you held the shares in the fund. Short-term (one year or less)
    capital gain distributions are taxable at the same rate as ordinary income, and gains on securities
    held for more than one year are taxed at the lower rates applicable to long-term capital gains. If
    you realized a loss on the sale or exchange of fund shares that you held for six months or less,
    your short-term capital loss must be reclassified as a long-term capital loss to the extent of any
    long-term capital gain distributions received during the period you held the shares. For funds
    investing in foreign instruments, distributions resulting from the sale of certain foreign currencies,
    currency contracts, and the foreign currency portion of gains on debt instruments are taxed as
    ordinary income. Net foreign currency losses may cause monthly or quarterly dividends to be
    reclassified as returns of capital.

    A fund’s distributions that have exceeded the fund’s earnings and profits for the relevant tax year
    may be treated as a return of capital to its shareholders. A return of capital distribution is
    generally nontaxable but reduces the shareholder’s cost basis in the fund, and any return of
    capital in excess of the cost basis will result in a capital gain.

    When a dividend or distribution is declared, the fund provides an estimate of its source. Such
    information is made available on the fund’s website (troweprice.com) or provided on a written
    notice to shareholders as required. The tax status of certain distributions may be recharacterized
    on year-end tax forms, such as your Form 1099-DIV. Distributions made by a fund may later be
    recharacterized for federal income tax purposes—for example, from taxable ordinary income
    dividends to returns of capital. A recharacterization of distributions may occur for a number of
    reasons, including the recharacterization of income received from underlying investments, such
    as REITs, and distributions that exceed taxable income due to losses from foreign currency
    transactions or other investment transactions. Certain funds, including international bond funds
    and funds that invest significantly in REITs, are more likely to recharacterize a portion of their
    distributions as a result of their investments. The Retirement Income Funds are also more likely
    to have some or all of their distributions recharacterized as returns of capital because of the
    predetermined monthly distribution amount.
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     If the fund qualifies and elects to pass through nonrefundable foreign income taxes paid to
     foreign governments during the year, your portion of such taxes will be reported to you as taxable
     income. However, you may be able to claim an offsetting credit or deduction on your tax return
     for those amounts. There can be no assurance that a fund will meet the requirements to pass
     through foreign income taxes paid.

     If you are subject to backup withholding, we will have to withhold a 24% backup withholding tax
     on distributions and, in some cases, redemption payments. You may be subject to backup
     withholding if we are notified by the Internal Revenue Service to withhold, you have failed one or
     more tax certification requirements, or our records indicate that your tax identification number is
     missing or incorrect. Backup withholding is not an additional tax and is generally available to
     credit against your federal income tax liability with any excess refunded to you by the Internal
     Revenue Service.

     The following table provides additional details on distributions for certain funds:

                                        Taxes on Fund Distributions
     Tax-Free and Municipal Funds
     • Gains realized on the sale of market discount bonds with maturities beyond one year may be
       treated as ordinary income and cannot be offset by other capital losses.
     • Payments received or gains realized on certain derivative transactions may result in taxable
       ordinary income or capital gains.
     • To the extent the fund makes such investments, the likelihood of a taxable distribution will be
       increased.
     Limited Duration Inflation Focused Bond, U.S. Limited Duration TIPS Index, and Inflation
     Protected Bond Funds
     • Inflation adjustments on Treasury inflation protected securities that exceed deflation
       adjustments for the year will be distributed as ordinary income.
     • In computing the distribution amount, the funds cannot reduce inflation adjustments by short-
       or long-term capital losses from the sales of securities.
     • Net deflation adjustments for a year may result in all or a portion of dividends paid earlier in
       the year being treated as a return of capital.
     Fund-of-Funds
     • Distributions by the underlying funds and changes in asset allocations may result in taxable
       distributions of ordinary income or capital gains, which could have a significant tax impact to
       taxable account holders.

     Tax Consequences of Liquidity Fees
     It is currently anticipated that shareholders of retail money market funds that impose a liquidity
     fee may generally treat the liquidity fee as offsetting the shareholder’s amount realized on the
     redemption (thereby decreasing the shareholder’s gain, or increasing the shareholder’s loss, on
     the redeemed amount). A fund that imposes a liquidity fee anticipates using 100% of that fee to
     help repair a market-based net asset value per share that was below $1.00. Any such
     discretionary liquidity fee will constitute an asset of the fund and will serve to benefit non-
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    redeeming shareholders. However, the fund does not intend to distribute such fees to non-
    redeeming shareholders.

    If the fund receives discretionary liquidity fees, it will consider the appropriate tax treatment of
    such fees to the fund at such time. However, due to a lack of guidance, the tax consequences of
    liquidity fees to the fund and the shareholders is unclear and may differ from that described in
    this section.

    Tax Consequences of Hedging
    Entering into certain transactions involving options, futures, swaps, and forward currency
    exchange contracts may result in the application of the mark-to-market and straddle provisions of
    the Internal Revenue Code. These provisions could result in a fund being required to distribute
    gains on such transactions even though it did not close the contracts during the year or receive
    cash to pay such distributions. The fund may not be able to reduce its distributions for losses on
    such transactions to the extent of unrealized gains in offsetting positions.

    Tax Effect of Buying Shares Before an Income Dividend or Capital Gain
    Distribution
    If you buy shares before or on the record date—the date that establishes you as the person to
    receive the upcoming distribution—you may receive a portion of the money you invested in the
    form of a taxable distribution. Therefore, you may wish to find out a fund’s record date before
    investing. In addition, a fund’s share price may, at any time, reflect undistributed capital gains or
    income and unrealized appreciation, which may result in future taxable distributions. Such
    distributions can occur even in a year when the fund has a negative return. The amount of capital
    gains realized by the fund is dependent upon the price at which securities are sold compared
    with the cost basis of those securities. When evaluating investment opportunities and deciding to
    sell a particular holding, a portfolio manager may consider the fund’s cash position relative to the
    cash needed to meet shareholder redemptions and/or purchase other securities and may identify
    certain shares with a specific cost basis to be sold in an attempt to minimize capital gain
    distributions. Additional information is available in the fund’s annual and semiannual
    Form N-CSRs.



    RIGHTS RESERVED BY THE FUNDS


    T. Rowe Price Funds and their agents, in their sole discretion, reserve the following rights: (1) to
    waive or lower investment minimums; (2) to accept initial purchases by telephone; (3) to refuse
    any purchase or exchange order; (4) to cancel or rescind any purchase or exchange order
    placed through a financial intermediary no later than the business day after the order is received
    by the financial intermediary (including, but not limited to, orders deemed to result in excessive
    trading, market timing, or 5% ownership); (5) to cease offering fund shares at any time to all or
    certain groups of investors; (6) to freeze any account and suspend account services when notice
    has been received of a dispute regarding the ownership of the account, or a legal claim against
    an account, upon initial notification to T. Rowe Price of a shareholder’s death until T. Rowe Price
    receives required documentation in correct form, or if there is reason to believe a fraudulent
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     transaction may occur; (7) to otherwise modify the conditions of purchase and modify or
     terminate any services at any time; (8) to waive any wire, small account, maintenance, or
     fiduciary fees charged to a group of shareholders; (9) to act on instructions reasonably believed
     to be genuine; (10) to involuntarily redeem an account at the net asset value calculated the day
     the account is redeemed when permitted by law, including in cases of threatening or abusive
     conduct, suspected fraudulent or illegal activity, or if the fund or its agent is unable, through its
     procedures, to verify the identity of the person(s) or entity opening an account; and (11) for
     money market funds, to suspend redemptions to facilitate an orderly liquidation.
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     The fund’s Statement of Additional Information, which contains a more detailed
     description of the fund’s operations, investment restrictions, policies, and practices,
     is incorporated by reference into this prospectus, which means that it is legally part
     of this prospectus even if you do not request a copy. Additional information about
     the fund’s investments is available in the fund’s annual and semi-annual reports to
     shareholders and in Form N-CSR. Except for money market funds, the fund’s annual
     report contains a discussion of the market conditions and investment strategies that
     significantly affected the fund’s performance during its last fiscal year. These
     documents and other information are available without charge through
     troweprice.com/prospectus. You can also request these documents and make
     shareholder inquiries at no cost by calling 1-800-638-5660, by sending an e-mail
     request to info@troweprice.com, or by contacting your financial intermediary.
     Annual and semi-annual shareholder reports and other fund information are
     available on the EDGAR Database on the SEC’s internet site at sec.gov. Copies of
     this information may be obtained, after paying a duplicating fee, by electronic
     request at publicinfo@sec.gov.




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